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                             EXHIBIT A
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          SUPREME COURT OF THE STATE OF NEW YORK
          COUNTY OF SUFFOLK
                                                                   X
          TOWN OF BROOKHAVEN,

                                        Plaintiff,                        Index No.: 2025-
                 -against-
                                                                          SUMMONS
          BERKLEY INSURANCE COMPANY,a/k/a or                              Plaintiff designates Suffolk
          d/b/a BERKLEY PUBLIC ENTITY MANAGERS,                           County as the place of trial
                                                                          The basis of venue is CPLR 503
                                        Defendant.
                                                                    X

         TO THE ABOVE NAMED DEFENDANT(S):

                 YOU ARE HEREBY SUMMONED to answer the Complaint in this action and to serve a
          copy of your Answer, or, if the Complaint is not served with this Summons, to serve a Notice of
          Appearance on the plaintiff's attorneys within twenty (20) days after the service of this
          Summons, exclusive of the day of service, or within thirty (30) days after service is complete if
          this Summons is not personally delivered to you within the State of New York; and in case of
          your failure to appear or answer,judgment will be taken against you by default for the relief
          demanded in the Complaint.

         Dated: Garden City, New York
                February 25, 2025
                                                       ROSENBERG CALICA BIRNEY
                                                       LIEBMAN & ROSS LLP
                                                       Attorneysfor Plaintiff Town ofBrookhaven


                                                       By:
                                                                  Robert M. Calica
                                                       100 Garden City Plaza, Suite 408
                                                       Garden City, New York 11530
                                                      (516) 747-7400

          TO:    Berkley Insurance Company
                 a/lc/a — d/b/a Berkley Public Entity Managers
                 412 Kemble Avenue
                 Suite 310N
                 Morristown, New Jersey 07960


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         SUPREME COURT OF THE STATE OF NEW YORK
         COUNTY OF SUFFOLK
                                                                   X
         TOWN OF BROOKHAVEN,                                                 Index No.:

                                       Plaintiff,                            COMPLAINT
                 -against-

         BERKLEY INSURANCE COMPANY,a/k/a or
         d/b/a BERKLEY PUBLIC ENTITY MANAGERS,

                                       Defendant.
                                                                   X


                 Plaintiff, TOWN OF BROOKHAVEN,by its attorneys, Rosenberg Calica Birney

         Liebman & Ross LLP,(as Special Counsel to Brookhaven Town Attorney Annette Eaderesto,

         Esq.), for its Complaint herein alleges as follows:

                                                    Introduction

                 1.      This action is brought by plaintiff, TOWN OF BROOKHAVEN ("Town" or

         "Brookhaven"), a New York municipal corporation against defendant BERKLEY INSURANCE

         COMPANY ("Berkley Insurance"), a/k/a or d/b/a BERKLEY PUBLIC ENTITY MANAGERS,

          which issued five(or more)applicable insurance policies to the Town covering the periods January

          1,2014 through and including January 1, 2019 (the "Berkley Policies") for, inter alia, declaratory

         relief, specific enforcement of the Berkley Policies, and reimbursement of the covered

         environmental contamination losses and damages at issue.

                 2.      The Town seeks to require Berkley Insurance to defend, indemnify and reimburse

         the Town ofBrookhaven with reference to any and all claims, damages and losses arising from the

         contamination of Brookhaven Calabro Airport, a Town-owned 600 acre general aviation airport

         located in Shirley, County of Suffolk, New York ("Calabro Airport") which is currently subject to

         environmental investigation and remediation.




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                 3.      Calabro Airport has become contaminated by substances known as "Aqueous Film-

         Forming Foam"("AFFF"), a product widely utilized for many decades to control and extinguish

         aviation and other flammable liquid fires, particularly at airports such as the Town-owned Calabro

          Airport("AFFF Products").

                4.       AFFF Products contain two toxic chemical ingredients known as "PFOA" and

         "PFOS"(collectively,"PFAS")which have been ascertained to leach into the soil and groundwater,

         resulting in contamination known to have significant adverse health effects on persons, and which

         are exceedingly difficult and costly to remediate.

                 5.      In 2016, the United States Environmental Protection Agency ("EPA") issued a

         Health Advisory Level ("HAL") of 70 parts per trillion for combined PFOA and PFOS, in July

         2020, the New York State Department of Environmental Conservation ("DEC") established a

          Maximum Contamination Level ("MCL") for PFOA and PFOS of 10 parts per trillion each

         ("PPT"), and in January 2021, the DEC incorporated these MCL,'s in its regulatory Guidance for

          MCL levels for Remedial Programs.

                 6.      A DEC investigation of Calabro Airport (and other surrounding properties)

         conducted in June and July 2019 reported that PFOA and PFOS contamination in the groundwater

          beneath Calabro Airport exceeded both the stricter DEC MCL's later adopted on July 30, 2020 and

          even exceeded the more lenient EPA's 2016 Health Advisory Levels.

                 7.      As a result of the DEC investigation: (a) the DEC designated the Calabro Airport

         site as a "potential" Inactive Hazardous Waste disposal site pursuant to New York Environmental

          Conservation Law Article 27 (ECL §27-1301); (b) the DEC demanded that the Town initially

          undertake an investigation of the PFOA and PFOS contamination levels in the soil and

          groundwater of Calabro Airport and to undertake various investigation on measures; and (c) the




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         Town entered into with the DEC a limited Order on Consent and Administrative Settlement dated

         June 18, 2020(the "Consent Order").

                 8.      The Consent Order, without admission or acknowledgment of liability on the part

         of the Town, requires it to undertake an investigation sufficient for the Town to prepare a Site

         Characterization Work Plan and Site Characterization Report to the DEC,for which the Town has

          now been required to engage an environmental engineering consultant, PW Grosser Consulting

         ("PWGC"), whose additional work is now progressing.

                 9.      The Consent Order otherwise fully reserved the Town's rights as to liability and

         other obligations and did not commit the Town to offering or agreeing to pay any amount in excess

         of a limited reimbursement of prior expenses to the DEC of approximately $38,000.

                 1 0.    As detailed below, the Berkley Policies require Berkley Insurance, without

          limitation, to defend and indemnify the Town with reference to and to reimburse all costs and

         expenses associated with both claims or potential claims against the Town stemming from

         contamination of Calabro Airport, its soil and groundwater, the costs of remediation imposed or

          which may be imposed by the DEC or otherwise required, any potential claims against the Town

         by owners of adjacent or other nearby properties (the "Other Properties") arising from the

         contamination of Calabro Airport by AFFF Products, and warrant the other relief sought below.

                 1 1.    As further shown below, no Exclusion or limitation contained in the Berkley

         Policies in any manner limits, bars or precludes the Town's right to defense, indemnification,

          remediation costs, and any other loss and liability which may arise as a result of the contamination

         of Calabro Airport and its surrounding properties.

                                   Prior Town Use of AFFF at Calabro Airport

                 12.     A total of five accidents or incidents have been recorded with the National

         Transportation Safety Bureau that are connected to Calabro Airport and have resulted in fire on


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         the ground on the following dates: May 6, 1984; August 3, 1988; November 18, 1998; August 19,

         2012 and February 12, 2016.

                 13.     Upon information and belief, AFFF Products were utilized in connection with the

         five accidents or incidents resulting in a fire on the ground enumerated above.

                 14.     In addition, AFFF foam has previously been stored in the Terminal Building of the

         Calabro Airport for firefighting use in small amounts, but not since 2006.

                 1 5.    By reason of the foregoing, the Town: (a) has and will continue to sustain

         environmental harm and property damage to Calabro Airport, its soils and groundwater from AFFF

         contamination; (b) may incur substantial expenditures in remediating PFOA and PFOS

         contamination caused by the use and dispersal of AFFF Products;(c) and may become exposed to

         liability in future actions and lawsuits by owners of other properties and others against the Town

         for which the Town is and will be entitled to damages, indemnification, reimbursement,

         declaratory, or other relief from Berkley Insurance.

                                                      Parties

                                        A. The Town and Calabro Airport

                 1 6.    Plaintiff, Town of Brookhaven ("Town"), is a municipal corporation organized

         under the laws of the State of New York with its principal place of business located at 1

         Independence Hill, Farmingville, New York.

                 17.     Calabro Airport was constructed during World War II, was thereafter owned by

         New York State, and was acquired, owned and has been operated by the Town since 1961,

         conducting approximately 130,000 aircraft operations annually (over 350 per day), with over 200

         aircraft based at the airport, three fixed-based operators("FBOs") and multiple other tenants.




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                                 B. Berkley Insurance and the Berkley Policies

                 18.     Upon information and belief, Berkley Insurance is an insurance company or entity

         duly licensed to issue policies of insurance in the State of New York and in accordance with the

         laws of the State of New York and issued the following policies to the Town of Brookhaven:

                 Policy Number              Policy Period             General Liability Coverage
                                                                      Part Limits of Insurance

                 PEM 0000039-00             January 1, 2014 to        Each Occurrence
                                            January 1, 2015           $10,000,000/Aggregate
                                                                      $10,000,000
                 PEM 0000039-01             January 1, 2015 to        Each Occurrence
                                            January 1, 2016           $10,000,000/Aggregate
                                                                      $10,000,000

                 PEM 0000039-02             January 1, 2016 to        Each Occurrence
                                            January 1, 2017           $10,000,000/Aggregate
                                                                      $10,000,000

                 PEM 0000039-03             January 1, 2017 to        Each Occurrence
                                            January 1, 2018           $10,000,000/Aggregate
                                                                      $10,000,000

                 PEM 0000039-04             January 1, 2018 to        Each Occurrence
                                            January 1, 2019           $10,000,000/Aggregate
                                                                      $10,000,000



                 19.     The Town gave due and proper notice to Berkley Insurance in accordance with the

         requirements of the Berkley Policies of the Town's claims and requests for coverage, defense,

          indemnification and reimbursement of any and all losses and remediation requirements resulting

         from the contamination of Calabro Airport by AFFF Products including the Town's giving due and

          proper disclosure that the Town had executed a Consent Order with the DEC requiring, inter alia,

         that the Town reimburse the DEC for the sum of $38,214 in past DEC site investigation costs and

          requiring the Town to submit a Site Characterization Work Plan and perform other steps to

          investigate contamination at Calabro Airport.


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                 20.     At the present time, it is anticipated that the DEC may (and may even be likely) to

         declare Calabro Airport as an Inactive Hazardous Waste site in accordance with the New York

         Environmental Conservation Law (the "Insured Claims"), which Insured Claims Berkley

         Insurance has wrongfully rejected by its disclaimer letters dated September 22, 2021 (Ex. 1) and

         December 10, 2024(Ex. 2).

            The Basis for Berkley Insurance Disclaimer of the Town's Insurance Coverage Claims

                 21.     As set forth in its disclaimer letter dated September 22, 2021 (the "Disclaimer

         Letter"), Berkley Insurance disclaims coverage in purported reliance upon certain insurance policy

         "exclusions" and "limitations" enumerated in the Disclaimer Letter (Ex. 1).

                 22.     The Disclaimer Letter is stated to be based upon the following purportedly

         applicable "exclusions" or "limitations" in the Berkley Policies (all disputed by the Town):

                         a.     Exclusions of damages for any costs, civil fines, penalties or expenses

                 levied or imposed against an Insured arising from any complaint or enforcement from

                 any Federal, State or local governmental agency;

                         b.     Exclusions applicable to "actual alleged or threatened discharge, dispersal,

                 seepage, migration or release or escape of pollutants" or requirements to "monitor, clean

                 up, remove, contain, treat, detoxify or neutralize" such pollutants or claims by any

                 governmental authority or others for damages because of"testing for, monitoring,

                 cleaning up" or otherwise remediating pollutants; and

                         c.     Exclusions for "property damage" to "Property owned, occupied or leased

                 by an Insured"(i.e., a so-called "Owned Property" exclusion).

                 23.     Pursuant to the letter of the Town's Special Counsel, Rosenberg Calica Birney

         Liebman & Ross LLP dated September 26, 2024 (Ex. 3 hereto), the Town duly and timely




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         requested that Berkley Insurance reconsider its September 22, 2021 Disclaimer Letter upon the

         following grounds:

                         • The Town is entitled to coverage under the Policy's General Liability
                           Coverage Part, for property damage;

                         • Contrary to Berkley's contention, the pollutants exclusion (contained in
                           paragraph C(12) of the Policy's Common Conditions, Definitions and
                           Exclusions) does not apply, because the damages were proximately and
                           foreseeably caused from heat, smoke or fumes from a hostile fire, which is an
                           express exception in the Policy to the pollutants exclusion. Burlington Ins. Co.
                           v. NYC Transit Auth., 29 N.Y.3d 313, 322(2017); Travelers Property Casualty
                           Company v Harleysville Worcester Insurance Company,685 F.Supp.3d 187,
                           208(S.D.N.Y. 2023); Liberty Mut. Ins. Corp. v. N.Y. Marine & Gen. Ins. Co.,
                           505 F. Supp.3d 260, 272(S.D.N.Y. 2011);

                         • Berkley also wrongly relied on the so-called "owned-property" exclusion to
                            covered property damage (contained in paragraph D(7) of the General
                           Liability Coverage Part). That exclusion provides that property owned by the
                           Insured is not covered as property damage. As a matter of settled law and
                            public policy, the owned-property exclusion does not apply because at issue is
                            environmental contamination migrating or potentially migrating toward
                            adjoining lands of third-parties and to the aquifer waters of the Long Island
                            Sole Source Aquifer, neither of which are owned by the Insured. Olin
                            Corporation v. Lamorak Insurance Company, 332 F.Supp.3d 818, 843-844
                           (S.D.N.Y. 2018); Kirchner v. Fireman's Fund Ins. Co., 1991 WL 177251, at *8
                           (S.D.N.Y. Sept. 4, 1991); and

                         • Berkley's claim that by entering into the June 18, 2020 Site Characterization
                           Consent Order with the DEC the Town violated condition 9(e) of the Policy's
                           Common Conditions, Definitions and Exclusions, that the Insured "must
                           obtain our prior written approval before offering or agreeing to pay any
                           amount in excess of the retained limit," is directly refuted by the express text
                           of that Consent Order, which specifically fully preserved the Town's rights to
                           challenge any DEC remedial orders and allowed and allows the Town to elect
                           to "terminate" that Consent Order (the "Objection Letter").

                 24.     The Town's detailed elaboration of the basis for the Town's demand for the

         reconsideration of the Berkley Insurance Disclaimer as set forth in the Objection Letter (Ex. 3) is

         fully and completely incorporated herein, including: (a)its full discussion of applicable New York

          law and Federal Court authorities applying New York law or applicable to this dispute; (b) the

         Berkley Policies' exception from "exclusion" of property damage "caused by heat, smoke or

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         fumes"from "hostile fires;"(c)the inapplicability of the "Owned-Property" exclusion;(d) that the

         Site Characterization Consent Order did not offer or agree to pay amounts in excess of the retained

         limits, and (e) for other reasons more fully detailed in the Town's Objection Letter and/or

         applicable by law or agreement.

                 25.     Notwithstanding the Town's Objection Letter, Berkley Insurance wrongfully,

         unlawfully, without legal cause or justification, and in violation of the terms of the Berkley

         Policies, adhered to its disclaimer by its letter dated December 10, 2024(Ex. 2 hereto).

                 26.     By reason thereof, the Town is entitled to the relief detailed below including,

         without limitation:

                         a.     A declaration that its claims against Berkley Insurance for defense,

                 indemnification and recovery of any and all losses incurred in connection with the

                 pollution of Calabro Airport by AFFF Products, its remediation, or any claims by owners

                 or occupants of"Other Properties" or by others is required under the Berkley Policies;

                         b.     Specifically enforcing the Berkley Policies by requiring Berkley

                 Insurance, at its sole cost and expense, to defend, indemnify and reimburse the Town

                 from any and all loss or liability arising out of the pollution of Calabro Airport by AFFF

                 Products against any claims against the Town arising therefrom; and

                         c.     Granting the Town such other and further relief as may be appropriate.

                                  AS AND FOR A FIRST CAUSE OF ACTION
                                         (Declaratory Judgment)

                 27.     Plaintiff repeats and realleges each of the foregoing allegations as though set forth

         herein at length.

                 28.     An actual and justiciable controversy exists between the Town of Brookhaven and

         Berkley Insurance concerning whether Berkley Insurance wrongly disclaimed coverage.

                 29.     Plaintiff has no adequate remedy at law.
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                30.      By reason of the foregoing, the Town of Brookhaven is entitled to a Declaratory

         judgment declaring as follows:

                               a.       Declaring that Berkley Insurance is required under the Berkley

                         Policies to defend, indemnify and reimburse the Town of Brookhaven with

                         reference to all damages, losses, costs and expenses associated with both claims

                         or potential claims against the Town stemming from the contamination of Calabro

                         Airport, its soil and groundwater by AFFF Products, the costs of remediation

                         imposed or which may be imposed by the DEC or otherwise required by law or

                         public safety, and any potential claims against the Town by owners of adjacent or

                         other nearby properties (the "Other Properties") arising from the contamination of

                         Calabro Airport by AFFF Products;

                               b.       Declaring that no exclusion, limitation or other provision of the

                         Berkley Policies in any manner limits, bars, or precludes the Town's right to

                         defense, indemnification, reimbursement of remediation costs, and any other loss,

                         liability or other damage which the Town may sustain by reason of the

                         contamination of Calabro Airport, its soil and groundwater and its surrounding

                         properties by AFFF Products;

                               c.       Declaring that the Town is entitled to the same complete defense,

                         indemnification and reimbursement of remediation and other costs or damages for

                         which the Town may become exposed to liability in future actions, lawsuits,

                         proceedings or claims by other owners of Other Properties or others in any

                         manner arising out of contamination of Calabro Airport, its soils and groundwater

                         from AFFF Products and the cost of remediating such contamination; and




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                                d.      Declaring such other matters, disputes and controversies between

                         the Town of Brookhaven and Berkley Insurance as may be necessary and

                         appropriate to fully resolve any and all disputes and controversies between the

                         parties.

                                    AS AND FOR A SECOND CAUSE OF ACTION
                                             (Specific Enforcement)

                 31.     Plaintiff repeats and realleges each of the foregoing allegations as though set forth

          herein at length.

                 32.     By reason of the foregoing, the Town is entitled to and hereby demands specific

         enforcement of the Berkley Policies by requiring that defendant Berkley Insurance do the

         following:

                                a.      Berkley Insurance is required under the Berkley Policies to defend,

                         indemnify and reimburse the Town of Brookhaven with reference to all damages,

                         losses, costs and expenses associated with both claims or potential claims against

                         the Town stemming from the contamination of Calabro Airport, its soil and

                         groundwater by AFFF Products, the costs of remediation imposed or which may

                         be imposed by the DEC or otherwise required by law or public safety and, any

                         potential claims against the Town by owners of adjacent or other nearby

                         properties (the "Other Properties") arising from the contamination of Calabro

                         Airport by AFFF Products;

                                b.      Requiring Berkley Insurance to provide the Town with a full

                         defense, indemnification and reimbursement of remediation and other costs for

                         which the Town may become exposed to liability in future actions, lawsuits,

                         proceedings or claims by owners of Other Properties or others in any manner


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                         arising out of contamination of Calabro Airport, its soils and groundwater from

                         AFFF Products and the cost of remediating such contamination; and

                                 c.       Requiring Berkley Insurance to perform such further actions as

                         may be necessary and appropriate to fully resolve any and all Town claims and

                         disputes and controversies between the parties.

                                      AS AND FOR A THIRD CAUSE OF ACTION
                                               (Monetary Damages)

                  33.    Plaintiff repeats and realleges each of the foregoing allegations as though set forth

          herein at length.

                  34.    By reason of the repudiation and breach of the obligations of defendant Berkley

          Insurance under the Berkley Policies, the Town of Brookhaven has sustained monetary damages

          in an amount exceeding all jurisdictional requirements of this Court and increasing steadily as

          the Town is engaged in the investigation and ongoing partial remediation of contamination of

          Calabro Airport resulting from the use and dispersal of AFFF Products in an amount to be

          determined at trial.

                 WHEREFORE,plaintiff, Town of Brookhaven, demands judgment against defendant,

          Berkley Insurance as follows:

                 1.      Upon the First Cause of Action Declaring as follows:

                         a.       Declaring that Berkley Insurance is required under the Berkley Policies to

                 defend, indemnify and reimburse the Town of Brookhaven with reference to all damages,

                 losses, costs and expenses associated with both claims or potential claims against the

                 Town stemming from the contamination of Calabro Airport, its soil and groundwater by

                 AFFF Products, the costs of remediation imposed or which may be imposed by the DEC

                 or otherwise required by law or public safety, and any potential claims against the Town


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                 by owners of adjacent or other nearby properties (the "Other Properties") arising from the

                 contamination of Calabro Airport by AFFF Products;

                         b.     Declaring that no exclusion, limitation or other provision of the Berkley

                 Policies in any manner limits, bars, or precludes the Town's right to defense,

                 indemnification, reimbursement of remediation costs, and any other loss, liability or other

                 damage which the Town may sustain by reason of the contamination of Calabro Airport,

                 its soil and groundwater and its surrounding properties by AFFF Products;

                         c.     Declaring that the Town is entitled to the same complete defense,

                 indemnification and reimbursement of remediation and other costs or damages for which

                 the Town may become exposed to liability in future actions, lawsuits, proceedings or

                 claims by other owners of Other Properties or others in any manner arising out of

                 contamination of Calabro Airport, its soils and groundwater from AFFF Products and the

                 cost of remediating such contamination; and

                         d.     Declaring such other matters, disputes and controversies between the

                 Town of Brookhaven and Berkley Insurance as may be necessary and appropriate to fully

                 resolve any and all disputes and controversies between the parties;

                 2.      Upon the Second Cause of Action, granting the Town specific performance of the

         Berkley Policies by requiring Berkley Insurance to do the following:

                         a.     Requiring Berkley Insurance under the Berkley Policies to defend,

                 indemnify and reimburse the Town of Brookhaven with reference to all damages, losses,

                 costs and expenses associated with both claims or potential claims against the Town

                 stemming from the contamination of Calabro Airport, its soil and groundwater by AFFF

                Products, the costs of remediation imposed or which may be imposed by the DEC or

                 otherwise required by law or public safety and, any potential claims against the Town by


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                  owners of adjacent or other nearby properties (the "Other Properties") arising from the

                  contamination of Calabro Airport by AFFF Products;

                          b.     Requiring Berkley Insurance to provide the Town with a full defense,

                  indemnification and reimbursement of remediation and other costs for which the Town

                  may become exposed to liability in future actions, lawsuits, proceedings or claims by •

                  owners of Other Properties or others in any manner arising out of contamination of

                  Calabro Airport, its soils and groundwater from AFFF Products and the cost of

                  remediating such contamination; and

                          c.     Requiring Berkley Insurance to perform such further actions as may be

                  necessary and appropriate to fully resolve any and all Town entitlements, claims and

                  disputes and controversies between the parties;

                  3.      Upon the Third Cause of Action, granting the Town of Brookhaven monetary

          damages against Berkley Insurance for repudiation and breach of the Berkley Policies granting

          damages in an amount to be determined at trial; and

                 4.       Granting plaintiff Town of Brookhaven such other and further relief as the Court

          may deem appropriate, together with interest, as applicable, from the earliest ascertainable date,

          and the costs and disbursements hereof.

         Dated: Garden City, New York
                February 25, 2025                               Yours, etc.

                                                                ROSENBERG CALICA BIRNEY
                                                                LIEBMAN & ROSS LLP
                                                                Attorneysfor Plat tif OW11 ofBrookhaven

                                                                By:
                                                                      Robert M. Calica
                                                                      Judah Serfaty
                                                                100 Garden City Plaza, Suite 408
                                                                Garden City, New York 11 530
                                                               (516)747-7400


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         TO:     Berkley Insurance Company
                 a/k/a — d/b/a Berkley Public Entity Managers
                 412 Kemble Avenue
                 Suite 310N
                 Morristown, New Jersey 07960




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                                                         VERIFICATION


         STATE OF NEW YORK                      )
                                                )ss:
         COUNTY OF SUFFOLK                      )

                 ANNETTE EADERESTO,being duly sworn deposes and says:

                 I am the Town Attorney ofthe Town of Brookhaven, and a Public Officer.

                I have read the foregoing Complaint, and the same is true ofown knowledge, except as to
         those matters therein stated to be alleged upon information and belief, and as to those matters, I
         believe them to be true.




                                                                          ANNETTE EADERESTO


         §w9g.to before me this
        0-(4wVay ofFebruary,2025.


                 MICHELE A DANCONA
             NOTARY PUBLIC,STATE OF NEW YORK
                 Registration No.0IDA6042652
                  Qualified in Suffolk Countx.,
                Commission Expires May 30,.4.021-49




         (00502227-1)


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                                        Exhibit 1
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               )
                    Berkley
                    Public Entity
                        I n Our kitty Con-loony
                                                                                                        Jeffrey Roberts
                                                                                                        Claims Director
                                                                                      412 Mt. Kemble Avenue, Suite G50
                                                                                                   Morristown NJ 07960
                                                                                                         212-835-1814
                                                                                        Email: jeroberts@wrberkley.com


     September 22, 2021

     Via Email Only
     jlutzer   brookhavenny.qov

     Jennifer Lutzer
     Town of Brookhaven
     1 Independence Hill
     Farmingville, New York 11738

     Re:       In The Matter RemedialProgram For Brookhaven Calabro Airport
               Index No.:          CO 1-20200210-82
               Berkley Insured:    Town of Brookhaven
               Berkley Claim No.: 2105409

     Dear Ms. Lutzer:

     This provides Berkley Insurance Company's ("Berkley") updated coverage position based upon its ongoing
     investigation. This follows our April 28, 2021 letter that is incorporated by reference herein.

     Berkley issued to the Town of Brookhaven ("Brookhaven") the following policies (collectively the "Berkley
      olicies" :
      Policy Number                   Policy Period                 General Liability Coverage
                                                                    Part Limits of Insurance

      PEM 0000039-00                              January 1, 2014 to January 1, Each Occurrence
                                                  2015                          $10,000,000/Aggregate
                                                                                $10,000,000

      PEM 0000039-01                              January 1, 2015 to January 1, Each Occurrence             .
                                                  2016                          $10,000,000/Aggregate
                                                                                $10,000,000
                              ,
      PEM 0000039-02                              January 1, 2016 to January 1, Each Occurrence
                                                  2017                          $10,000,000/Aggregate
                                                                                $10,000,000

      PEM 0000039-03                              January 1, 2017 to January 1, Each Occurrence
                                                  2018                          $10,000,000/Aggregate
                                                                                $10,000,000
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      PEM 0000039-04                    January 1, 2018 to January 1, Each Occurrence
                                        2019                          $10,000,000/Aggregate
                                                                      $10,000,000


     For the reasons discussed below, Berkley disclaims coverage to Brookhaven and will not defend or indemnify
     Brookhaven in the above referenced matter.

     BACKGROUND

     The New York Department ofEnvironmental Conservation (the "NYDEC")initiated the matter III The Matter
     Remedial Program for DEC Site Brookhaven Calabro Airport DEC Site No. 152263, Index No. CO 1-
     20200210-82,for the property located at 135 Dawn Drive, Shirley, New York 11967(the "Site"). The NYDEC
     has designated the Calabro Airport location as a potential hazardous waste site and is conducting a "Site
     Characterization" to identify and quantify the presence ofPFOS and PFOA contaminants found in the soil and
     groundwater. A November 26, 2019 letter from Environmental Assessment & Remediations ("EAR")
     i ndicates that investigation of the Site is being conducted pursuant to NYDEC Standby Contractor
     Authorization Form dated February 14, 2019(Callout ID: 136708)and that, between June 24 and July 2, 2019,
     EAR installed temporary borings at fourteen (14) locations for the collection of groundwater samples. The
     samples collected contained levels of PFOA and PFOS that were outside of acceptable limits or exceeded
     USEPA advisory level limits.

     We understand that Brookhaven owns the Calabro Airport Site. On May 21, 2020, Brookhaven executed a
     Consent Order with the NYDEC that obligates Brookhaven to reimburse the NYDEC $38,214 in past Site
     investigation costs and requires Brookhaven to submit a Site Characterization Work plan.

     THE BERKLEY POLICIES

    Berkley refers you to the complete terms, conditions and exclusions of the Berkley policies. Berkley reserves
    the right to rely on any term(s), condition(s) and exclusion(s) of the Berkley policies and the failure to cite any
    particular term(s), condition(s) and exclusion(s) herein shall not be deemed a waiver thereof.

    Please refer to the "PUBLIC ENTITY RETAINED LIMITS POLICY COMMON CONDITIONS,
    DEFINITIONS AND EXCLUSIONS"(form CCP1001 01/13) which provides:

                    A.   CONDITIONS
                         All Coverage Parts included in this policy are subject to the following conditions
                         except as where expressly indicated.
                                                            *    *

                         9.     Defense and Settlement
                              a) We have no duty to defend a claim against an insured seeking damages.
                              b) We shall have no obligation to pay or indemnify an insured for any
                                  amount if an insured's obligation to pay damages and claim expenses is
                                  within or equal to the retained limit.
                                       a Berkley Company
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                            c) You have the duty to defend any claim to which this insurance applies
                                and shall be responsible for the damages and claim expenses up to the
                                retained limit.
                             d) Your legal obligation to pay damages must be evidenced either by a
                                judgment against an insured after final adjudication, an arbitration award
                                entered as a judgment, or by a written settlement executed by you and the
                                settling claimants.
                            e) You must obtain our prior written approval before offering or agreeing
                                to pay any amount in excess of the retained limit.
                            f) We shall have the right and you shall avail us of the opportunity to
                                associate with you in the defense of any claim that in our sole opinion
                                 may create indemnification obligations for us.
                              ) We shall have the right to settle any claim that in our sole opinion may
                                create indemnification obligations for us under this policy.
                                                      *   *   *


                    B.   DEFINITIONS
                         1. Accident includes continuous or repeated exposure to substantially the same
                            general harmful conditions which results in bodily injury or property
                            damages. All such exposure to substantially the same general conditions will
                            be considered as arising out of one accident.
                                                      *   *   *


                         3. Advertising injury means one or more of the following offenses committed
                            or alleged to have been committed in any advertisement, publicity article,
                            broadcast, or telecast and arising out of your advertising activities except if
                            arising out of electronic chat rooms or bulletin boards:
                            a. Libel, slander or defamation;
                            b. Any infringement of copyright, title or slogan;
                            c. Use of another's advertising idea in your advertisement;
                            d. Oral or written publication of material that violates a person's right of
                                privacy.
                                                      *   *   *

                         6. Bodily injury means:
                            a. Physical injury, sickness or disease sustained by any person, including
                               death resulting from any of these at any time; and
                            b. Mental anguish, mental injury mental tension, emotional distress,
                               disability, pain and suffering, shock or fright if arising out of item 6.a.
                         7. Claim means:
                            a. A written demand against any insured for monetary damages or non-
                               monetary injunctive relief;
                            b. A civil, administrative or regulatory proceeding against any insured
                               commenced by:
                               i.    The service of a complaint or similar pleading against any insured
                                     seeking monetary damages or non-monetary or injunctive relief;
                                      a Berkley Company
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                          ii.   The issuance of a notice of charge or formal investigative order,
                                including without limitation any such proceeding by or in association
                                with any federal, state or local governmental authority located
                                anywhere in the world; or
                          iii. The service upon or other receipt by an insured of a written notice
                                or subpoena from the investigating authority identifying any insured
                                as an individual against whom a civil, administrative or regulatory
                                investigation or proceeding is to be commenced.
                       Notwithstanding the foregoing, however, any complaint filed with the Equal
                       Employment Opportunity Commission ("EEOC")shall not constitute a claim
                       unless the EEOC has issued a "right to sue" letter or notice to the claimant;
                       c. A criminal proceeding against any insured commenced by a return of an
                          indictment, information, or similar document, or receipt or filing of a
                           notice of charges;
                       d. An arbitration proceeding against any insured seeking monetary damages
                          or non-monetary or injunctive relief;
                       e. Solely with respect to Insuring Agreement A.2, a written request of the
                          insured to toll or waive a statute of limitations applicable to a claim
                           described in paragraphs a through d above; including any appeal
                          therefrom.
                       Claim does not mean or include a labor union grievance or complaint filed
                       with a labor union.
                                                *   *    *


                    1 1. Damages means:
                       a. Compensatory damages that the insured becomes legally obligated to pay
                          on account of any claim;...
                                                *   *

                       d. Damages does not include:
                          i.   Any amount that the insured is not financially liable or legally
                               obligated to pay;
                          ii. Taxes, fines, penalties, or assessments;
                          iii. Punitive or exemplary damages, or the multiple portion of any
                               multiplied damage award;
                          iv. Matters uninsurable under the laws pursuant to which this policy is
                               construed;
                          v. The cost to comply with any injunctive or other non-monetary or
                               declaratory relief, including specific performance, or any agreement
                               to provide such relief.
                          vi. Employment-related benefits, retirement benefits, perquisites,
                               vacation and sick days, medical and insurance benefits, deferred cash
                               incentive compensation or any other type ofcompensation; provided,
                               however, this limitation does not include salary, wages, bonuses,
                               commissions and non-deferred cash incentive compensation in a
                               settlement or judgment for an employment practice violation;
                                a Berkley Company
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                           vii. Any liability or costs incurred to modify any building or property to
                                  make it more accessible or accommodating to any person;
                           viii. Any liability of costs in connection with any educational, sensitivity
                                  or other corporate program, policy or seminar;
                           ix. The value of tuition or scholarship;
                           x. The reimbursement of tuition, books, transportation expenses and
                                  other fees associated with educational activities;
                           xi. Any amount that an insured shall be required to pay pursuant to a
                                  special needs hearing award, other than prevailing party fees
                           xii. The return of funds which were received:
                                  i. from any federal, state or local governmental agency and any
                                      interest, fines or penalties arising out of the return of such funds;
                                      or
                                  ii. as donations from a third party.
                           xi ii. Crisis management expense; or
                           xiv. Liquidated damages, except to the extent specifically included as
                                   dam ages above.
                                                    * * *

                    17. Hostile Fire means a fire which becomes uncontrollable or breaks out from
                        where it was intended to be.
                                               * * *

                    26. Occurrence means:
                        a. With respect to bodily injury and property damage, an accident
                           including continuous or repeated exposure to substantially the same
                           general harmful conditions which results in bodily injury or property
                           damage. All such exposure to substantially the same general conditions
                           will be considered as arising out of one occurrence;
                        b. With respect to personal injury, only those offenses specified in the
                           personal injury definition. All damages arising out of substantially the
                           same personal injury regardless offrequency, repetition, the number or
                           kind of offenses, or number of claimants, will be considered as arising
                           out of one occurrence.
                        c. With respect to advertising injury, only the offenses listed in the
                           advertising injury definition. All damages arising out of substantially
                           the same advertising injury regardless of frequency, repetition, the
                           number or kind of media used, the number or kind of offenses, or the
                           number of claimants, will be considered as arising out of one
                           occurrence.
                    27. Personal injury means one or more of the following offenses:
                        a.   False arrest, false imprisonment wrongful detention or malicious
                             prosecution;


                                 a Berkley Company
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                         b.    Libel, slander, defamation of character, or oral or written publication
                               of material that violates a person's right of privacy; unless arising out
                               of advertising activities in electronic chat rooms or bulletin boards;
                         c.    Wrongful eviction from, wrongful entry into, or invasion of the right
                               of private occupancy of a room, dwelling or premises that a person
                               occupies by or on behalfofthe owner,landlord or lessor, or by a person
                               claiming to be acting on behalf of the owner, landlord or lessor.
                         d.    Personal injury does not include the disclosure of any individual's
                               name; address; telephone number; medical, healthcare or other health
                               information; social security, driver's license or other government
                               identification number; credit or debit card number; account numbers
                               or histories; passwords or other personal information not lawfully
                               available to the general public.
                                                 *    *   *

                    31. Pollutant(s) means
                        a.   any substance exhibiting any hazardous characteristics as defined by
                             or identified on a list of hazardous substances issued by the United
                             States Environmental Protection Agency or any federal, state, county,
                             municipal or local counterpart thereof or any foreign equivalent;
                        b. any solid, liquid, gaseous or thermal irritant, contaminant or smoke,
                             vapor, soot, fumes, acids, alkalis, chemicals or waste materials,
                             including materials to be recycled, reconditioned, or reclaimed; and
                             also
                        c.   any other air emission, odor, waste water, oil or oil products, infectious
                             or medical waste, asbestos or asbestos products, noise, fungi or
                             bacteria (not including to any fungi or bacteria that are, are on, or are
                             contained in, a good or product intended for bodily consumption), lead
                             or lead compounds or lead contained in any materials, and electric or
                             magnetic or electromagnetic field radiation.
                                                 *    *   *

                    31. Property damage means physical injury to tangible property, including all
                        resulting loss of use of such property. All such loss of use shall be deemed
                        to occur at the time of the physical injury that caused it. For purposes of this
                        insurance, electronic data is not tangible property. Electronic data means
                        information, facts, or programs stored as or on, created or used on, or
                        transmitted to or from computer software, including systems and
                        applications software, hard or floppy disks. CD-ROMS, DADs, tapes,
                        drives, cells, data processing devices or any other media which are used with
                        electronically controlled equipment.
                    32. Retained limit means the applicable dollar amounts shown in the
                        Declarations, applicable Coverage Part or endorsement, which the insured
                        bears as an uninsured amount at its own risk. The retained limit must be
                        satisfied by actual payment by you. The retained limit cannot be satisfied
                        by payment of any deductible of any other policy or any payments made on
                        behalf of any insured by any other insurer, person or entity. You must pay
                                 a Berkley Company
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                        the retained limit under this policy without regard to whether any insured
                        must pay other amounts under any other policy, even if the claim is deemed
                        to have been caused by one occurrence, accident or wrongful act. The
                        retained limit shall not be impaired by payments for any claim, or related
                        claim expenses, brought against an insured which is not covered under the
                        applicable Coverage Part.
                                            * * *
                  37. Suit means a civil proceeding in which damages because of bodily injury,
                        property damage, personal injury, advertising injury or wrongful act to
                        which the applicable Coverage Part applies, are alleged, including:
                        a. An arbitration proceeding in which such damages are alleged; or
                        b. Any other Alternative Dispute Resolution proceeding in which such
                           damages are alleged.
             C.   Exclusions
                  All Coverage Parts included in this policy also contain their own exclusions and
                  are subject to any applicable exclusions in the Coverage Part and the following
                  Exclusions that apply to all Coverage Parts except as otherwise expressly
                  indicated:
                  The insurance under this Coverage Part does not apply to:
                                            *   *    *

                  5.    Any damages for any costs, civil fines, penalties or expenses levied or
                        imposed against an insured arising from any complaint or enforcement
                        action from any federal, state, or local government regulatory agency.
                                                *   *    *

                  12.    Any:
                          a. Liability arising from the actual alleged or threatened discharge,
                                dispersal, seepage, migration, release or escape of pollutants; or
                          b. Loss, cost or expense arising out of any:
                                i. Request, demand or order than an insured or others test for,
                                    monitor, clean up, remove, contain, treat, detoxify or neutralize,
                                    or in any way respond to or assess the effects of pollutants; or
                                ii. Any claim by or on behalf of a governmental authority or others
                                    for damages because of testing for, monitoring, cleaning up,
                                    removing, containing, treating, detoxifying or neutralizing, or in
                                    any way responding to, or assessing the effects of pollutants.
                          With respect to the General Liability Coverage Part, this exclusion does
                          not apply to:
                          a. Bodily injury or property damage caused by heat, smoke or fumes
                             from a hostile fire;
                          b. Bodily injury if sustained within a building owned or occupied by, or
                              rented or loaned to, any insured and caused by smoke, fumes, vapor,
                              or soot from equipment used to heat that building.
                          With respect to the Automobile Liability Coverage Part, this exclusion
                          does not apply to accidents that occur away from premises owned or

                               a Berkley Company
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                                 rented to an insured with respect to pollutants not in or upon a covered
                                 automobile, but only if:
                                 a. The pollutants or any property in which the pollutants are contained
                                     are upset, overturned or damaged as a result of the maintenance or use
                                     of a covered automobile; and
                                 b. The discharge, dispersal, seepage, migration, release or escape of the
                                     pollutants is caused directly by such upset, overturn or damage; and
                                 c. The pollutants were not in, upon or released from the covered
                                     automobile.
                                 Paragraph c. above does not apply to fuels, lubricants, fluids, exhaust,
                                 gases or other similar pollutants that are needed for or result from the
                                 normal electrical, hydraulic or mechanical functioning of the covered
                                 automobile or its parts, if:
                                 i.    The pollutants escape, seep, migrate or are discharged, dispersed or
                                       released directly from an automobile part designed by its
                                       manufacturer to hold, store, receive or dispose of such pollutants;
                                       and
                                 ii. The bodily injury or property damage does not arise out of the
                                       operation of mobile equipment.
                                                        *   *    *



     Please refer to the "PUBLIC ENTITY RETAINED LIMITS POLICY GENERAL LIABILITY
     COVERAGE PART"(form CCP1002 01/13) which provides:

                    In consideration of the payment of the premium and the undertaking of the insured to
                    pay the retained limit as described herein, and subject to the Limits of Insurance of this
                    insurance as set forth in the Declarations, and the exclusions, conditions, and other terms
                    of this policy, the Company agrees with the insured as follows:
                    A.      Insuring Agreement
                           The insurer will indemnify the insured for those sums the insured becomes
                           legally obligated to pay as damages and/or claim expenses in excess of the
                           retained limit because of bodily injury, personal injury, advertising injury,
                           or property damage taking place during the policy period and caused by an
                           occurrence during the policy period. The occurrence must take place in the
                           Coverage Territory.
                           No other obligation to pay any additional sums,perform acts or provide services
                           is covered.
                    B.      Retained Limit
                           The insurer's liability under this policy applies only to damages and claim
                           expenses which are in excess of the retained limit applicable to this Coverage
                           Part and specified in the Declarations. The retained limit must be borne by the
                           insured as an uninsured amount and at its own risk. This will be true regardless
                           of:
                                       a Berkley Company
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                            I. The number of persons and organizations who are insureds under this
                               policy;
                            2. The number of claims made against any or all insureds; or
                            3. The number of persons or organizations making claims.
                                                      *     *


                    D.      Exclusions
                            The following exclusions apply to this Coverage Part in addition to the
                            exclusions in the Common Conditions, Definitions and Exclusions section of
                            this policy.
                            The insurance under this Coverage Part does NOT apply to:
                                                        *   *    *

                            7.    Any property damage to:
                                  a. Property owned, occupied or leased by an insured or purchased by
                                       an insured under an installment sales contract or property on
                                       consignment to an insured;

     COVERAGE POSITION

     As per the policy's General Liability Coverage Part, Berkley will indemnify Brookhaven for those sums it
     becomes legally obligated to pay as damages and/or claim expenses in excess of the retained limit because
     of bodily injury, personal injury, advertising injury, or property damage taking place during the policy
     period and caused by an occurrence during the policy period.

     The claim by the NYDEC does not seek damages for bodily injury, personal injury or advertising injury
     as those terms are defined in the Berkley policies.

     To the extent the claim seeks damages for property damage to property owned, occupied or leased by an
     insured or purchased by an insured under an installment sales contract or property on consignment to an
     insured, coverage is excluded pursuant to exclusion "7" in the General Liability Coverage Part.

     Berkley also denies coverage to the extent that the NYDEC requires Brookhaven to pay any taxes, fines,
     penalties, or assessments, as such items are not covered damages as that term is defined in the Berkley policies.
     In addition, Berkley also denies coverage for any costs incurred by Brookhaven to comply with any injunctive
     or other non-monetary or declaratory relief, including specific performance, or any agreement to provide such
     relief, as such items are also not covered damages.

     The COMMON CONDITIONS,DEFINITIONS AND EXCLUSIONS in the Berkley policies contains a
     pollution exclusion applicable to all coverage parts which provides that the policies do not apply to any:

                    a.    Liability arising from the actual alleged or threatened discharge, dispersal,
                          seepage, migration, release or escape of pollutants; or
                    b.    Loss, cost or expense arising out of any:
                                         a Berkley Company
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                          i. Request, demand or order than an insured or others test for, monitor, clean up,
                              remove, contain, treat, detoxify or neutralize, or in any way respond to or
                              assess the effects of pollutants; or
                          ii. Any claim by or on behalf of a governmental authority or others for damages
                              because oftesting for, monitoring, cleaning up,removing,containing, treating,
                              detoxifying or neutralizing, or in any way responding to, or assessing the
                              effects of pollutants.

     The NYDEC has identified, and is continuing to investigate, PFOA and PFOS contamination at the Site. The
     NYDEC Site Record lists PFOA and PFOS as the "Contaminants of Concern" and indicates that they have
     been detected "above the EPA Health Advisory Level of 70 ng/l." PFOA and PFOS are pollutants as that
     term is defined in the Berkley policies.

     NYDEC's claim is that Brookhaven is liable for the discharge, dispersal, seepage, migration, release or escape
     of the pollutants PFOA and PFOS at the Site. Coverage for the claim is excluded section "a." of the pollution
     exclusion in the Berkley policies.

     Brookhaven's Consent Order with the NYDEC obligates Brookhaven to reimburse the NYDEC $38,214 in
     past Site investigation costs and requires Brookhaven to submit a Site Characterization Work plan to the
     NYDEC for PFOA and PFOS. Under section "b." ofthe pollution exclusion, the Berkley policies do not apply
     to costs incurred to investigate and remediate pollutants PFOA and PFOS at the Site.

     Accordingly, coverage for NYDEC's claim against Brookhaven is completely excluded from coverage by the
     pollution exclusion in the Berkley policies. Berkley denies coverage to Brookhaven for NYDEC's claim.

     Pursuant to exclusion "5" in the COMMON CONDITIONS,DEFINITIONS AND EXCLUSIONS in the
     Berkley policies, Berkley also denies coverage for any damages for any costs, civil fines, penalties or expenses
     levied or imposed against Brookhaven arising from any complaint or enforcement action from any federal,
     state, or local government regulatory agency, including but not limited to NYDEC.


     Pursuant to condition "9 e)" in the COMMON CONDITIONS, DEFINITIONS AND EXCLUSIONS,
     Brookhaven "must obtain our prior written approval before offering or agreeing to pay any amount in excess
     of the retained limit." Brookhaven executed the Consent Order with the NYDEC prior to notifying Berkley
     of this claim. Accordingly, Brookhaven's obligations under the Consent Order in excess of the retained limit
     are excluded from coverage. In addition, retained limit shall not be impaired by payments for any claim, or
     related claim expenses, brought against an insured which is not covered under the applicable Coverage Part.
     As the claim by NYDEC is not covered under the Berkley policies, any payments made by Brookhaven do
     not erode the retained limit. Pursuant to condition "9 a)" Berkley has no duty to defend a claim against an
     insured seeking damages.

     No other coverage parts of the Berkley policies apply to this matter.



                                       a Berkley Company
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     For the reasons discussed above, Berkley completely denies coverage to Brookhaven. Berkley will not defend
     or indemnify Brookhaven or any other party to this claim. If you have other insurance policies that may
     respond to this claim, you should notify that carrier immediately.

     Berkley's coverage position is based upon the information available to us. This letter is not and should not be
     construed as a waiver of any terms, conditions, exclusions or any other provisions of the Berkley policies.
     Berkley expressly reserves its right to supplement the foregoing if additional information is developed or
     disclosed and to assert policy positions and defenses not discussed herein which may be determined to be
     applicable. No waiver of the right to assert additional positions or defenses is intended and such a waiver is
     denied.

     Should you wish to take this matter up with the New York State Department of Financial Services, you may
     file with the Department either on its website at http://www.dfs.ny.goviconsumer/fileacomplaint.htm or you
     may write to or visit the Consumer Assistance Unit, Financial Frauds and Consumer Protection Division, New
     York State Department of Financial Services, at: 25 Beaver Street, New York, NY 10004; One Commerce
     Plaza, Albany, NY 12257; 163B Mineola Boulevard, Mineola, NY 11501; or Walter J. Mahoney Office
     Building, 65 Court Street, Buffalo, NY 14202.

     Please do not hesitate to call me if you have any questions regarding this letter or if you have any additional
     information you wish Berkley to consider.

     Sincerely,

    Peffief Wenta
    Jeffrey Roberts
    Claims Director

     Cc:
     Brian Jankauskas, P.E.
     New York Department of Environmental Conservation
     Division of Environmental Remediation
     625 Broadway, 12th Floor
     Albany, New York 12233-7013

     Felix Wienclaw (via email to fwienclaw@brookhavenny.gov)

     Stephen J. Jones (via email to StephenionesJr@willistowerswatson.com)
     Willis Towers Watson (via email to IN WNA Claims@willistowerswatson.com)




                                       a Berkley Company
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                                       Exhibit 2
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                       Berkley                                                                412 Mt. Kemble Ave.
                                                                                                        Suite 310N
                       Public Entity Managers                                                 Morristown, NJ 07960
                                    I a Elo*ley CoanPaar




         December 10, 2024

          Via Email: Rcalica@rosenbergllp.com

         Robert M. Calica, Esq.
         Partner
         Rosenberg Calica Bimey Liebman & Ross LLP
         100 Garden City Plaza, Suite 408
         Garden City, NY 11530

                 Re:                         In the Matter Remedial Program for Brookhaven Calabro Airport
                 Index No.:                  CO 1-20200210-82
                 Berkley Insured:            Town of Brookhaven
                 Claim No.:                  000013971340
                 BPE Claim No.:              2105409

         Dear Mr. Calica:

         I write on behalf of Berkley Insurance Company ("Berkley") in response to your letter of
         September 26, 2024, which you submitted on behalf of the Town of Brookhaven ("Brookhaven").

         As you know, on September 22, 2021, Berkley disclaimed coverage for Brookhaven's claim in
         connection with the matter In The Matter Remedial Program for DEC Site Brookhaven Calabro
         Airport DEC Site No. 152263, Index No. CO 1-20200210-82 initiated by the New York
         Department of Environmental Conservation ("NYDEC.").

         In your letter, you asserted Berkley's bases for denying coverage were contrary to the subject
         policies and governing law and you demanded coverage on behalf of Brookhaven. Berkley has
         reviewed the arguments and issues that you raised and has determined that Berkley's coverage
         position remains unchanged. Based on the terms and conditions of the Berkley policies and New
         York law, Berkley must reiterate its position to disclaim coverage for Brookhaven's claim.

          This letter is written under a reservation of rights, with none waived.

          Sincerely,


                       gi;,4•_Sctizia

         Matt Passanisi, Esq.
         Claims Director
         Berkley Public Entity
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                      ROSENBERG CALICA
                      BIRNEY LIEBMAN & ROSS LLP

                100 Garden City Plaza, Suite 408, Garden City, New York 11530   TELEPHONE 516-747-7400

         Robert M. Calico                                                 DIRECT DIAL:(516) 747-7400 (Ext. 310)
         Partner                                                          Fax:        (516) 747-7480
         EMAIL ADDRESS: RcalicaPRosenbergLLP.com



                                                                  September 26, 2024


         VIA FEDERAL EXPRESS AND EMAIL
         Jeffrey Roberts
         Claims Director
         Berkley Insurance Company
         412 Mt. Kemble Avenue, Suite G50
         Morristown NJ 07960
         212-835-1814
         Email: jf_roberts@wrberkley.com

                 Re: In The Matter Remedial Program For Brookhaven Calabro Airport
                 Index No.: CO 1-20200210-82
                 Berkley Insured: Town of Brookhaven
                 Berkley Claim No.: 2105409

          Dear Mr. Roberts:

                 We are attorneys for the Insured, Town of Brookhaven. For the reasons stated below, the
          Town disputes Berkley Insurance Company's denial of coverage in this matter as indicated in
          your correspondence of September 22, 2021. Each of Berkley's asserted bases for denying
          coverage are contrary to the subject Policy and governing law.

                  As used in this letter, Town or Insured means the Town of Brookhaven, Berkley or
          Insurer means Berkley Insurance Company, and boldface terms are as defined in the Policy.

                 As shown below:

             • The Town is entitled to coverage under the Policy's General Liability Coverage Part, for
               property damage;

             • Contrary to Berkley's contention, the pollutants exclusion (contained in paragraph C(12)
               of the Policy's Common Conditions, Definitions and Exclusions) does not apply, because
               the damages were proximately and foreseeably caused from heat, smoke or fumes from a
               hostile fire, which is an express exception in the Policy to the pollutants exclusion.
               Burlington Ins. Co. v. NYC Transit Auth., 29 N.Y.3d 313, 322(2017); Travelers
               Property Casualty Company v Harleysville Worcester Insurance Company,685
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                    F.Supp.3d 187, 208 (S.D.N.Y. 2023); Liberty Mut. Ins. Corp. v. N.Y. Marine & Gen. Ins.
                    Co., 505 F. Supp.3d 260, 272(S.D.N.Y. 2011);

               • Berkley also wrongly relied on the so-called "owned-property" exclusion to covered
                 property damage (contained in paragraph D(7) of the General Liability Coverage Part).
                 That exclusion provides that property owned by the Insured is not covered as property
                 damage. As a matter of settled law and public policy, the owned-property exclusion does
                 not apply because at issue is environmental contamination migrating or potentially
                 migrating toward adjoining lands of third-parties and to the aquifer waters of the Long
                 Island Sole Source Aquifer, neither of which are owned by the Insured. Olin Corporation
                 v. Lamorak Insurance Company, 332 F.Supp.3d 818, 843-844(S.D.N.Y. 2018); Kirchner
                 v. Fireman's Fund Ins. Co., 1991 WL 177251, at *8 (S.D.N.Y. Sept. 4, 1991); and

               • Berkley's claim that by entering into the June 18, 2020 Site Characterization Consent
                 Order with the DEC the Town violated condition 9(e) of the Policy's Common
                 Conditions, Definitions and Exclusions, that the Insured "must obtain our prior written
                 approval before offering or agreeing to pay any amount in excess of the retained limit,"
                 is directly refuted by the express text of that Consent Order, which specifically fully
                 preserved the Town's rights to challenge any DEC remedial orders and allowed and
                 allows the Town to elect to "terminate" that Consent Order.

               I.        Coverage

                  Under the Policy's General Liability Coverage Part, in pertinent part, Berkley is obligated
           to indemnify the Town for those sums it becomes legally obligated to pay as damages and/or         .
           claim expenses in excess of the retained limit because of property damage taking place during
           the policy period and caused by an occurrence during the policy period.

                   Investigations have uncovered that the property damage to Calabro Airport was in large
           part the result of multiple fires from airplane crashes, resulting in heat, smoke and fumes that
           were foreseeably treated with Aqueous Film-Forming Foam (AFFF), also known as firefighting
           foam. Five accidents or incidents have been recorded with the National Transportation Safety
           Bureau that are connected to the airport and have resulted in heat, smoke or fumes from a hostile
           fire on the ground on the following dates: May 6, 1984; August 3, 1988; November 18, 1998;
           August 19, 2012 and February 12, 2016. Upon information and belief, AFFF products were
           utilized in connection with those five accidents or incidents and which leached into the ground
           and travelled.

                    The damages and date of occurrence are within the coverage periods. New York courts
           apply the broad "injury-in-fact" trigger for an occurrence under insurance policies. Carrier
           Corporation v. Allstate Insurance Company, 187 A.D.3d 1616 (4th Dept 2020); Continental Cas.
           Co. v. Rapid-American Corp., 177 A.D.2d 61 (1st Dep't 1992), order affd, 80 N.Y.2d 640
           (1993). As it pertains to environmental injury to property, this broad standard is not at all limited
           to first exposure of the lands to the contaminants. Instead, policy occurrence triggering dates
           extend throughout the periods that the contamination injures the land and/or underlying waters.
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         Cortland Pump & Equip., Inc. v. Firemen's Ins. Co. of Newark, N.J., 194 A.D.2d 117, 121 (3d
         Dept. 1993).

                TT.       The Policy's "hostile fire" exception to the pollutants exclusion

                 The pollutants exclusion contained in paragraph C(12) the Policy's Common
         Conditions, Definitions and Exclusions, while providing an express exclusion for
         governmentally directed cleanups of environmental contaminants, contains a specific exception
         to that exemption concerning property damage caused from heat, smoke or fumes from a
         hostile fire. It therefore does not exempt coverage for such governmentally directed cleanups
         falling within that hostile fire exception. It provides:

                      [Exclusions:] 12. Any:

                      a. Liability arising from the actual, alleged or threatened discharge, dispersal,
                      seepage, migration, release or escape of pollutants; or

                      b. Loss, cost or expense arising out of any:

                             i. Request, demand or order that an insured or others test for, monitor, clean
                             up, remove, contain, treat, detoxify or neutralize, or in any way respond to
                             or assess the effects of pollutants; or

                             ii. Any claim by or on behalf of governmental authority or others for
                             damages because of testing for, monitoring, cleaning up, removing,
                             containing, treating, detoxifying or neutralizing, or in any way responding
                             to, or assessing the effects of pollutants.

                      With respect to the General Liability Coverage Part, this exclusion does not apply
                      to:

                      a. Bodily injury or property damage caused by heat, smoke or fumes from a
                      hostile fire.(Underlining added).

                     It is settled in New York that to be enforceable, exclusionary language in an insurance
             policy must be specific and clear. Seaboard Sur. Co. v. Gillette Co., 64 N.Y.2d 304(1984). Any
             ambiguity in the language will be drawn most strongly against the insurer. Ace Wire & Cable
             Co. v. Aetna Cas. & Sur. Co., 60 N.Y.2d 390(1983). Exclusions must not be extended by
             interpretation or implication but rather strictly and narrowly construed. Seaboard, supra. As the
             New York Court of Appeals explained in Pioneer Owners Ass'n Towers v. State Farm Fire &
             Casualty Co., 12 N.Y.3d 302(2009):

                      The law governing the interpretation of exclusionary clauses in insurance policies
                      is highly favorable to insureds. We said in Seaboard Sur. Co. v Gillette Co.(64
                      NY2d 304 [1984]):
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                "[W]henever an insurer wishes to exclude certain coverage from its policy
                obligations, it must do so in clear and unmistakable language. Any such
                exclusions or exceptions from policy coverage must be specific and clear in order
                to be enforced. They are not to be extended by interpretation or implication, but
                are to be accorded a strict and narrow construction. Indeed, before an insurance
                company is permitted to avoid policy coverage, it must satisfy the burden which it
                bears of establishing that the exclusions or exemptions apply in the particular
                case, and that they are subject to no other reasonable interpretation."(Id. at 311
                [citations and internal quotation marks omitted]; see also Cone v Nationwide Mut.
                Fire Ins. Co., 75 NY2d 747, 749 [1989][exclusions from coverage "construed
                strictly against the insurer"]; Breed v Insurance Co. ofN. Am., 46 NY2d 351, 353
                [1978]["ambiguities in an insurance policy are to be construed against the
                insurer, particularly when found in an exclusionary clause"].)

                We have enforced policy exclusions only where we found them to "have a
                definite and precise meaning, unattended by danger of misconception . . . and
                concerning which there is no reasonable basis for a difference of opinion"(Breed,
                46 NY2d at 355).

                 This case is a close one, but we cannot say that the event that caused plaintiffs
                 loss was unambiguously excluded from the coverage of this policy.
                                                         ***



                 We conclude that both plaintiffs and defendant's readings of the clauses are
                 reasonable. Our precedents require us to adopt the readings that narrow the
                 exclusions, and result in coverage."

                A hostile fire is defined in the Policy as "a fire which becomes uncontrollable or breaks
         out from where it was intended to be". Common Conditions, Definitions and Exclusions at
         Section B(17). At issue here is clearly hostile fires.

                 Further, under New York law, the Policy's exception for property damage "caused by
         heat, smoke or fumes"from a hostile fire means such damages that were "but for" caused by heat,
         smoke or fumes. Burlington Ins. Co. v. NYC Transit Auth., 29 N.Y.3d 313, 322(2017)("cause"
         when used in insurance policy may mean "but for" causation unless the policy employs modifiers
         such as "in whole or in part" which—because "but for" causation cannot be partial—connotes both
         "but for" and proximate causation). Here, but-for the heat, smoke or fumes of the hostile fire the
         property damages from the application of the firefighting foam to control and put out the heat,
         smoke or fumes would not have occurred. Thus, the property damages was "caused" by heat,
         smoke or fumes.

                 Additionally, even assuming proximate causation is required, it is readily met. Under
         New York law,"the concept of proximate cause, or more appropriately legal cause, [is]... an
         elusive one, incapable of being precisely defined to cover all situations". Derdiarian v. Felix
         Contracting Corp., 51 N.Y.2d 308, 314 (1980). It may be established as a primafacie matter
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          where there is evidence that a party or matter "was a substantial cause of the events which
          produced the injury," although ultimately,"[Oven the unique nature of the inquiry in each case,
          it is for the finder of fact to determine legal cause." Id. at 315; see also Travelers Property
          Casualty Company v Harleysville Worcester Insurance Company,685 F.Supp.3d 187, 208
         (S.D.N.Y. 2023). An intervening act(such as the use of firefighting foam to put out and control
          the heat, smoke or fumes of the hostile lire) if"normal or foreseeable," does not preclude a
          finding proximately cause from the precipitating event(Woodling v. Garrett Corp., 813 F.2d
          543, 555-56(2d Cir. 1987)) and does "not automatically sever[]" the "causal connection"
         (Liberty Mut. Ins. Corp. v. N.Y. Marine & Gen. Ins. Co., 505 F. Supp.3d 260, 272(S.D.N.Y.
          2011)(quoting Derdiarian, 51 N.Y.2d at 315). See also U.S. Specialty Insurance Company v.
          Harleysville Worcester Insurance Company, 2021 WL 4043457, *10(S.D.N.Y. 2021). The use
          of a firefighting material foreseeably ensues from heat, smoke or fumes of a hostile fire such
          that the causal link exists and is not broken.


              III.       Inapplicability of the owned-property exclusion

                 Further, contrary to Berkley's contention, the owned-property exclusion to covered
         property damage contained in paragraph D(7)of the General Liability Coverage Part--
         providing that property damage does not include damage to the Insured's own property--does
         not justify a denial of coverage here. At issue is environmental contamination migrating toward
         and threatening adjoining lands and the waters of the Long Island Aquifer which provides the
         sole source of drinking water to Long Island. New York courts as a matter of law and public
         policy do not apply an owned-property exclusion in this circumstance. Olin Corporation v.
         Lamorak insurance Company, 332 F.Supp.3d 818, 843-844(S.D.N.Y. 2018)("numerous district
         courts in this Circuit have found that the owned property exclusion does not apply where cleanup
         of the insured's property is required to prevent damage to property of a third party or to protect
         public health, regardless of whether third party property damage has already occurred"). The
         refusal on public policy grounds to apply an owned-property exclusion in this context applies
         "regardless" of whether damage to a third party's property has actually occurred. Id.; Kirchner v.
         Fireman's Fund Ins. Co., 1991 WL 177251, at *8(S.D.N.Y. Sept. 4, 1991); HLT Properties, LLC
         v. Evanston Insurance Company, 388 F.Supp.3d 718, 733(W.D. Texas 2019)(applying New
         York law).


              IV.        The Site Characterization Consent Order did not offer or agree to pay amounts
                         in excess of the retained limit.

                 Contrary to Berkley's further contention, by entering into the June 18, 2020 Site
         Characterization Consent Order with the DEC the Town did not contravene condition 9(e) of the
         Policy's Common Conditions, Definitions and Exclusions, that the Insured "must obtain our
         prior written approval before offering or agreeing to pay any amount in excess of the retained
         limit." The 2020 Site Characterization Consent Order obligated the Town to reimburse the DEC
         for only $38,214, which is less than the retained limits. Further, that Site Characterization
         Consent Order extensively preserved the Town's rights and did not commit the Town to offering
         or agreeing to pay any amount in excess of the retained limit. The Consent Order specifically
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        states:

                  3. Respondent consents to the issuance of this Order without (i) an admission or
                  finding of liability, fault, wrongdoing, or violation of any law, regulation, permit,
                  order, requirement, or standard of care of any kind whatsoever; (ii) an
                  acknowledgment that there has been a release or threatened release of hazardous
                  waste at or from the Site; and/or (iii) an acknowledgment that a release or
                  threatened release of hazardous waste at or from the Site constitutes a significant
                  threat to the public health or environment.

                  4. Respondent and the Department agree that the primary goal of this Order is for
                  Respondent to undertake a Site Characterization at the Site.

               The Consent Order only greed to investigate so as to characterize the site. Further, having
       fully preserved the Town's rights as to liability, the Consent Order in its incorporated
       "APPENDIX A [-] STANDARD CLAUSES FOR ALL NEW YORK STATE SUPERFUND
       ADMINISTRATIVE ORDERS" specifically provided that the Town could fully challenge DEC
       determinations and that nothing in the Consent Order altered that (VIII(B)), that even more, the
       Town had the full authority to elect to "terminate" the Consent Order if it disagreed with any
       DEC remediation order(XIV), and contained numerous other provisions which preserved the
       Town's authority not to be bound by DEC directives.

                  Accordingly, coverage is hereby again demanded. All rights are reserved.


                                                        Yours truly,

                                                        ROSENBERG CALICA BlRNEY
                                                        LIEBMAN & ROSS LLP



                                                                Robert M. Calica
                                                                Judah Serfaty
        cc: Hon. Annette Eaderesto
              Town Attorney, Town of Brookhaven
             (via email: aeaderesto brookhavenny.gov)
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SUPREME COURT OF THE STATE OF NEW YORK
COUNTY OF SUFFOLK
                                    x
TOWN OF BROOKHAVEN,


                          Plaintiff/Petitioner,

            - against -                                      Index No.605051/2025
BERKLEY INSURANCE COMPANY, a/k/a or d/b/a
BERKLEY PUBLIC ENTITY MANAGERS,

                          Defendant/Respondent.
                                              x
                             NOTICE OF ELECTRONIC FILING
                                   (Mandatory Case)
                                (Uniform Rule § 202.5-bb)

      You have received this Notice because:

             1)The Plaintiff/Petitioner, whose name is listed above, has filed this case using the
             New York State Courts E-filing system ("NYSCEF"), and

             2)You are a Defendant/Respondent(a party) in this case.

      •If you are represented by an attorney:
       Give this Notice to your attorney. (Attorneys: see "Information for Attorneys" pg. 2).

      •If you are not represented by an attorney:
       You will be served with all documents in paper and you must serve and file your
       documents in paper, unless you choose to participate in e-filing.

         If you choose to participate in e-filing, you must have access to a computer and a
        scanner or other device to convert documents into electronic format, a connection
        to the internet, and an e-mail address to receive service of documents.

        The benefits of participating in e-filing include:

                   •serving and filing your documents electronically

                   •free access to view and print your e-filed documents

                   •limiting your number of trips to the courthouse

                   • paying any court fees on-line (credit card needed)

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                                     Information for Attorneys
                               (E-filing is Mandatory for Attorneys)

        An attorney representing a party who is served with this notice must either:

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                NYSCEF site www.nycourts.qov/efile ; or

                2)file the Notice of Opt-Out form with the clerk of the court where this action is
                pending and serve on all parties. Exemptions from mandatory e-filing are limited to
                attorneys who certify in good faith that they lack the computer hardware and/or
                scanner and/or internet connection or that they lack(along with all employees subject
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       (phone: 646-386-3033; e-mail: nyscef@nycourts.gov).


Dated: March 17, 2025'


Robert M. Calica, Esq.                                   400 Garden City Plaza, Suite 403
             Name                                                    Address
 ROSENBERG CALICA BIRNEY LIEBMAN
 & ROSS LLP
                                                         Garden City, New York 11530
                Firm Name

                                                         516.747.7400
                                                                     Phone

                                                         rcalica@rosenberglIp.corn
                                                                      E-Mail


To:     Berkley Insurance Company

       412 Kemble Avenue, Ste. 310N

        Morristown, New Jersey 07960




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          SUPREME COURT OF THE STATE OF NEW YORK
          COUNTY OF SUFFOLK
                                                                   X
          TOWN OF BROOKHAVEN,

                                        Plaintiff,                       Index No.: 2025-
                 -against-
                                                                         SUMMONS
          BERKLEY INSURANCE COMPANY,a/k/a or                             Plaintiff designates Suffolk
          d/b/a BERKLEY PUBLIC ENTITY MANAGERS,                          County as the place of trial
                                                                         The basis of venue is CPLR 503
                                        Defendant.
                                                                   X

          TO THE ABOVE NAMED DEFENDANT(S):

                 YOU ARE HEREBY SUMMONED to answer the Complaint in this action and to serve a
         copy of your Answer, or, if the Complaint is not served with this Summons,to serve a Notice of
          Appearance on the plaintiff's attorneys within twenty (20)days after the service of this
         Summons, exclusive of the day ofservice, or within thirty (30)days after service is complete if
          this Summons is not personally delivered to you within the State of New York; and in case of
          your failure to appear or answer,judgment will be taken against you by default for the relief
         demanded in the Complaint.

         Dated: Garden City, New York
                February 25, 2025
                                                       ROSENBERG CALICA BIRNEY
                                                       LIEBMAN & ROSS LLP
                                                       Attorneysfor Plaintiff Town ofBrookhaven


                                                       By:
                                                                  Robert M. Calica
                                                       100 Garden City Plaza, Suite 408
                                                       Garden City, New York 11530
                                                      (516)747-7400

         TO:     Berkley Insurance Company
                 alkla — d/b/a Berkley Public Entity Managers
                 412 Kemble Avenue
                 Suite 310N
                 Morristown, New Jersey 07960


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         SUPREME COURT OF THE STATE OF NEW YORK
         COUNTY OF SUFFOLK
                                                                   X
         TOWN OF BROOKHAVEN,                                                Index No.:

                                       Plaintiff,                           COMPLAINT
                 -against-

         BERKLEY INSURANCE COMPANY,a/k/a or
         d/b/a BERKLEY PUBLIC ENTITY MANAGERS,

                                       Defendant.
                                                                   X


                 Plaintiff, TOWN OF BROOKHAVEN,by its attorneys, Rosenberg Calica Birney

         Liebman & Ross LLP,(as Special Counsel to Brookhaven Town Attorney Annette Eaderesto,

         Esq.), for its Complaint herein alleges as follows:

                                                    Introduction

                 1.      This action is brought by plaintiff, TOWN OF BROOKHAVEN ("Town" or

         "Brookhaven"), a New York municipal corporation against defendant BERKLEY INSURANCE

         COMPANY ("Berkley Insurance"), a/k/a or d/b/a BERKLEY PUBLIC ENTITY MANAGERS,

          which issued five(or more)applicable insurance policies to the Town covering the periods January

          1,2014 through and including January 1, 2019 (the "Berkley Policies")for, inter alia, declaratory

         relief, specific enforcement of the Berkley Policies, and reimbursement of the covered

         environmental contamination losses and damages at issue.

                 2.      The Town seeks to require Berkley Insurance to defend, indemnify and reimburse

          the Town ofBrookhaven with reference to any and all claims, damages and losses arising from the

         contamination of Brookhaven Calabro Airport, a Town-owned 600 acre general aviation airport

          located in Shirley, County of Suffolk, New York ("Calabro Airport") which is currently subject to

         environmental investigation and remediation.




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                  3.      Calabro Airport has become contaminated by substances known as "Aqueous Film-

          Forming Foam"("AFFF"), a product widely utilized for many decades to control and extinguish

          aviation and other flammable liquid fires, particularly at airports such as the Town-owned Calabro

          Airport("AFFF Products").

                  4.      AFFF Products contain two toxic chemical ingredients known as "PFOA" and

         "PFOS"(collectively,"PFAS")which have been ascertained to leach into the soil and groundwater,

          resulting in contamination known to have significant adverse health effects on persons, and which

          are exceedingly difficult arid costly to remediate.

                  5.      In 2016, the United States Environmental Protection Agency ("EPA") issued a

          Health Advisory Level ("HAL") of 70 parts per trillion for combined PFOA and PFOS, in July

          2020, the New York State Department of Environmental Conservation ("DEC") established a

          Maximum Contamination Level ("MCL") for PFOA and PFOS of 10 parts per trillion each

         ("PPT"), and in January 2021, the DEC incorporated these MCL's in its regulatory Guidance for

          MCL levels for Remedial Programs.

                  6.      A DEC investigation of Calabro Airport (and other surrounding properties)

          conducted in June and July 2019 reported that PFOA and PFOS contamination in the groundwater

          beneath Calabro Airport exceeded both the stricter DEC MCL's later adopted on July 30. 2020 and

          even exceeded the more lenient EPA's 2016 Health Advisory Levels.

                  7.      As a result of the DEC investigation:(a) the DEC designated the Calabro Airport

          site as a "potential" Inactive Hazardous Waste disposal site pursuant to New York Environmental

          Conservation Law Article 27 (ECL §27-1301); (b) the DEC demanded that the Town initially

          undertake an investigation of the PFOA and PFOS contamination levels in the soil and

          groundwater of Calabro Airport and to undertake various investigation on measures; and (c) the




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          Town entered into with the DEC a limited Order on Consent and Administrative Settlement dated

          June 18, 2020 (the "Consent Order").

                 8.      The Consent Order, without admission or acknowledgment of liability on the part

         of the Town, requires it to undertake an investigation sufficient for the Town to prepare a Site

         Characterization Work Plan and Site Characterization Report to the DEC,for which the Town has

         now been required to engage an environmental engineering consultant, PW Grosser Consulting

         ("PWGC"), whose additional work is now progressing.

                 9.      The Consent Order otherwise fully reserved the Town's rights as to liability and

         other obligations and did not commit the Town to offering or agreeing to pay any amount in excess

         of a limited reimbursement of prior expenses to the DEC of approximately $38,000.

                 10.     As detailed below, the Berkley Policies require Berkley Tnsurance, without

         limitation, to defend and indemnify the Town with reference to and to reimburse all costs and

         expenses associated with both claims or potential claims against the Town stemming from

         contamination of Calabro Airport, its soil and groundwater, the costs of remcdiation imposed or

         which may be imposed by the DEC or otherwise required, any potential claims against the Town

         by owners of adjacent or other nearby properties (the "Other Properties") arising from the

         contamination of Calabro Airport by AFFF Products, and warrant the other relief sought below.

                 1 1.    As further shown below, no Exclusion or limitation contained in the Berkley

         Policies in any manner limits, bars or precludes the Town's right to defense, indemnification,

         remediation costs, and any other loss and liability which may arise as a result ofthe contamination

         of Calabro Airport and its surrounding properties.

                                  Prior Town Use of AFFF at Calabro Airport

                 12.     A total of five accidents or incidents have been recorded with the National

         Transportation Safety Bureau that arc connected to Calabro Airport and have resulted in fire on


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         the ground on the following dates: May 6, 1984; August 3, 1988; November 18, 1998; August 19,

         2012 and February 12, 2016.

                  13.    Upon information and belief, AFFF Products were utilized in connection with the

         five accidents or incidents resulting in a fire on the ground enumerated above.

                 14.     In addition, AFFF foam has previously been stored in the Terminal Building of the

         Calabro Airport for firefighting use in small amounts, but not since 2006.

                 1 5.    By reason of the foregoing, the Town: (a) has and will continue to sustain

         environmental harm and property damage to Calabro Airport, its soils and groundwater from AFFF

         contamination; (b) may incur substantial expenditures in remediating PFOA and PFOS

         contamination caused by the use and dispersal of AFFF Products;(c)and may become exposed to

         liability in future actions and lawsuits by owners of other properties and others against the Town

         for which the Town is and will be entitled to damages, indemnification, reimbursement,

         declaratory, or other relief from Berkley Insurance.

                                                      Parties

                                        A. The Town and Calabro Airport

                 1 6.    Plaintiff, Town of Brookhaven ("Town"), is a municipal corporation organized

         under the laws of the State of New York with its principal place of business located at I

         Independence Hill, Farmingville, New York.

                 1 7.    Calabro Airport was constructed during World War 11, was thereafter owned by

         New York State, and was acquired, owned and has been operated by the Town since 1961,

         conducting approximately 130,000 aircraft operations annually (over 350 per day), with over 200

         aircraft based at the airport, three fixed-based operators("FBOs") and multiple other tenants.




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                                 B. Berkley Insurance and the Berkley Policies

                 18.     Upon information and belief, Berkley Insurance is an insurance company or entity

         duly licensed to issue policies of insurance in the State of New York and in accordance with the

         laws of the State ofNew York and issued the following policies to the Town ofBrookhaven:

                 Policy Number              Policy Period             General Liability Coverage
                                                                      Part Limits ofInsurance

                 PEM 0000039-00             January 1, 2014 to        Each Occurrence
                                            January 1, 2015           $10,000,000/Aggregate
                                                                      $10,000,000
                 PEM 0000039-01             January 1,2015 to         Each Occurrence
                                            January 1, 2016           $10,000,000/Aggregate
                                                                      $10,000,000

                 PEM 0000039-02             January 1, 2016 to        Each Occurrence
                                            January 1,2017            $10,000,000/Aggregate
                                                                      $10,000,000

                 PEM 0000039-03             January 1, 2017 to        Each Occurrence
                                            January 1, 2018           $10,000,000/Ageregate
                                                                      $10,000,000

                 PEM 0000039-04             January 1, 2018 to        Each Occurrence
                                            January 1, 2019           $10,000,000/Aggregate
                                                                      $10,000,000



                 19.     The Town gave due and proper notice to Berkley Insurance in accordance'with the

         requirements of the Berkley Policies of the Town's claims and requests for coverage, defense,

         indemnification and reimbursement of any and all losses and remediation requirements resulting

         from the contamination of Calabro Airport by AFFF Products including the Town's giving due and

         proper disclosure that the Town had executed a Consent Order with the DEC requiring, inter cilia.

         that the Town reimburse the DEC for the sum of $38,214 in past DEC site investigation costs and

         requiring the Town to submit a Site Characterization Work Plan and perform other steps to

         investigate contamination at Calabro Airport.


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                 20.     At the present time, it is anticipated that the DEC may (and may even be likely) to

         declare Calabro Airport as an Inactive Hazardous Waste site in accordance with the New York

         Environmental Conservation Law (the "Insured Claims"), which Insured Claims Berkley

         Insurance has wrongfully rejected by its disclaimer letters dated September 22, 2021 (Ex. 1) and

         December 10, 2024(Ex. 2).

            The Basis for Berkley Insurance Disclaimer of the Town's Insurance Coverage Claims

                 21.     As set forth in its disclaimer letter dated September 22, 2021 (the "Disclaimer

         Letter"), Berkley Insurance disclaims coverage in purported reliance upon certain insurance policy

         "exclusions" and "limitations" enumerated in the Disclaimer Letter (Ex. 1.).

                 22.     The Disclaimer Letter is stated to be based upon the following purportedly

         applicable "exclusions" or "limitations" in the Berkley Policies (all disputed by the Town):

                         a.     Exclusions of damages for any costs, civil fines, penalties or expenses

                 levied or imposed against an Insured arising from any complaint or enforcement from

                 any Federal, State or local governmental agency;

                         b.     Exclusions applicable to "actual alleged or threatened discharge, dispersal,

                 seepage, migration or release or escape of pollutants" or requirements to "monitor, clean

                 up, remove, contain, treat, detoxify or neutralize" such pollutants or claims by any

                 governmental authority or others for damages because of"testing for, monitoring,

                 cleaning up" or otherwise remediating pollutants; and

                         c.     Exclusions for "property damage" to "Property owned, occupied or leased

                 by an Insured"(i.e., a so-called "Owned Property" exclusion).

                 23.     Pursuant to the letter of the Town's Special Counsel, Rosenberg Calica Birney

         Liebman & Ross LLP dated September 26, 2024 (Ex. 3 hereto), the Town duly and timely




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         requested that Berkley Insurance reconsider its September 22, 2021 Disclaimer Letter upon the

         following grounds:

                         • The Town is entitled to coverage under the Policy's General Liability
                           Coverage Part, for property damage;

                         • Contrary to Berkley's contention, the pollutants exclusion (contained in
                           paragraph C(12) of the Policy's Common Conditions, Definitions and
                           Exclusions) does not apply, because the damages were proximately and
                           foreseeably caused from heat, smoke or fumes from a hostile fire, which is an
                           express exception in the Policy to the pollutants exclusion. Burlington Ins. Co.
                           v. NYC Transit Auth., 29 N.Y3d 313, 322(2017): Travelers Property Casualty
                           Company v Harleysville Worcester Insurance Company.685 F.Supp.3d 187,
                           208 (S.D.N.Y. 2023); Liberty Mut. Ins. Corp. v. N.Y. Marine & Gen. Ins. Co.,
                           505 F. Supp.3d 260, 272(S.D.N.Y. 2011);

                         • Berkley also wrongly relied on the so-called "owned-property" exclusion to
                            covered property damage (contained in paragraph D(7)of the General
                           Liability Coverage Part). That exclusion provides that property owned by the
                            Insured is not covered as property damage. As a matter of settled law and
                            public policy, the owned-property exclusion does not apply because at issue is
                           environmental contamination migrating or potentially migrating toward
                            adjoining lands of third-parties and to the aquifer waters of the Long Island
                           Sole Source Aquifer, neither of which are owned by the Insured. Olin
                            Corporation v. Lamorak Insurance Company,332 F.Supp.3d 818, 843-844
                          (S.D.N.Y. 2018); Kirchner v. Fireman's Fund Ins. Co., 1991 WL 177251, at *8
                           (S.D.N.Y. Scpt. 4, 1991); and

                         • Berkley's claim that by entering into the June 18, 2020 Site Characterization
                           Consent Order with the DEC the Town violated condition 9(e) of the Policy's
                           Common Conditions, Definitions and Exclusions, that the Insured "must
                           obtain our prior written approval before offering or agreeing to pay any
                           amount in excess of the retained limit," is directly refuted by the express text
                           of that Consent Order, which specifically fully preserved the Town's rights to
                           challenge any DEC remedial orders and allowed and allows the Town to elect
                           to "terminate" that Consent Order(the "Objection Letter").

                 24.     The Town's detailed elaboration of the basis for the Town's demand for the

         reconsideration of the Berkley Insurance Disclaimer as set forth in the Objection Letter (Ex. 3)is

         fully and completely incorporated herein, including: (a)its full discussion of applicable New York

         law and Federal Court authorities applying New York law or applicable to this dispute; (b) the

         Berkley Policies' exception from "exclusion" of property damage "caused by heat, smoke or

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         fumes" from "hostile fires;"(c)the inapplicability of the "Owned-Property" exclusion;(d)that the

         Site Characterization Consent Order did not offer or agree to pay amounts in excess of the retained

         limits, and (e) for other reasons more fully detailed in the Town's Objection Letter and/or

         applicable by law or agreement.

                 25.     Notwithstanding the Town's Objection Letter, Berkley Insurance wrongfully,

         unlawfully, without legal cause or justification, and in violation of the terms •of the Berkley

         Policies, adhered to its disclaimer by its letter dated December 10, 2024(Ex. 2 hereto).

                 26.     By reason thereof; the Town is entitled to the relief detailed below including,

         without limitation:

                         a.      A declaration that its claims against Berkley Insurance for defense,

                 indemnification and recovery of any and all losses incurred in connection with the

                 pollution of Calabro Airport by AFFF Products, its remediation, or any claims by owners

                 or occupants of"Other Properties" or by others is required under the Berkley Policies;

                         b.      Specifically enforcing the Berkley Policies by requiring Berkley

                 Insurance, at its sole cost and expense, to defend, indemnify and reimburse the Town

                 from any and all loss or liability arising out of the pollution of Calabro Airport by AFFF

                 Products against any claims against the Town arising therefrom; and

                         c.     Granting the Town such other and further relief as may be appropriate.

                                  AS AND FOR A FIRST CAUSE OF ACTION
                                         (Declaratory Judgment)

                 27.     Plaintiff repeats and realleges each of the foregoing allegations as though set forth

         herein at length.

                 28.     An actual and justiciable controversy exists between the Town of Brookhaven and

         Berkley Insurance concerning whether Berkley Insurance wrongly disclaimed coverage.

                 29.     Plaintiff has no adequate remedy at law.
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                  30.     By reason of the foregoing, the Town of Brookhaven is entitled to a Declaratory

          judgment declaring as follows:

                                 a.      Declaring that Berkley Insurance is required under the Berkley

                          Policies to defend, indemnify and reimburse the Town ofBrookhaven with

                          reference to all damages,losses, costs and expenses associated with both claims

                          or potential claims against the Town stemming from the contamination of Calabro

                          Airport, its soil and groundwater by AFFF Products, the costs of remediation

                          imposed or which may be imposed by the DEC or otherwise required by law or

                          public safety, and any potential claims against the Town by owners of adjacent or

                          other nearby properties (the "Other Properties") arising from the contamination of

                          Calabro Airport by AFFF Products;

                                b.       Declaring that no exclusion, limitation or other provision of the

                          Berkley Policies in any manner limits, bars, or precludes the Town's right to

                          defense, indemnification, reimbursement of remediation costs, and any other loss.

                          liability or other damage which the Town may sustain by reason of the

                          contamination of Calabro Airport, its soil and groundwater and its surrounding

                          properties by AFFF Products;

                                c.       Declaring that the Town is entitled to the same complete defense,

                          indemnification and reimbursement of remediation and other costs or damages for

                          which the Town may become exposed to liability in future actions, lawsuits,

                          proceedings or claims by other owners of Other Properties or others in any

                          manner arising out of contamination of Calabro Airport, its soils and groundwater

                          from AFFF Products and the cost of remediating such contamination; and




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                               d.       Declaring such other matters, disputes and controversies between

                         the Town of Brookhaven and Berkley Insurance as may be necessary and

                         appropriate to fully resolve any and all disputes and controversies between the

                         parties.

                                    AS AND FOR A SECOND CAUSE OF ACTION
                                             (Specific Enforcement)

                 3I.     Plaintiff repeats and realleges each of the foregoing allegations as though set forth

         herein at length.

                 32.     By reason of the foregoing, the Town is entitled to and hereby demands specific

         enforcement of the Berkley Policies by requiring that defendant Berkley Insurance do the

         following:

                               a.       Berkley Insurance is required under the Berkley Policies to defend,

                         indemnify and reimburse the Town of Brookhaven with reference to all damages,

                         losses, costs and expenses associated with both claims or potential claims against

                         the Town stemming from the contamination of Cal abro Airport, its soil and

                         groundwater by AFFF Products, the costs of remediation imposed or which may

                         be imposed by the DEC or otherwise required by law or public safety and, any

                         potential claims against the Town by owners of adjacent or other nearby

                         properties (the "Other Properties") arising from the contamination of Calabro

                         Airport by AFFF Products;

                               b.       Requiring Berkley Insurance to provide the Town with a full

                         defense, indemnification and reimbursement of remediation and other costs for

                         which the Town may become exposed to liability in future actions, lawsuits,

                         proceedings or claims by owners of Other Properties or others in any manner


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                          arising out of contamination of Calabro Airport, its soils and groundwater from

                          AFFF Products and the cost of remediating such contamination; and

                                  c.       Requiring Berkley Insurance to perform such further actions as

                          may be necessary and appropriate to fully resolve any and all Town claims and

                          disputes and controversies between the parties.

                                       AS AND FOR A THIRD CAUSE OF ACTION
                                                (Monetary Damages)

                   33.    Plaintiff repeats and realleges each of the foregoing allegations as though set forth

           herein at length.

                   34.    By reason of the repudiation and breach of the obligations of defendant Berkley

           Insurance under the Berkley Policies, the Town of Brookhaven has sustained monetary damages

           in an amount exceeding all jurisdictional requirements of this Court and increasing steadily as

           the Town is engaged in the investigation and ongoing partial remediation of contamination of

           Calabro Airport resulting from the use and dispersal of AFFF Products in an amount to be

           determined at trial.

                  WHEREFORE,plaintiff, Town of Brookhaven, demands judgment against defendant,

           Berkley Insurance as follows:

                  1.      Upon the First Cause of Action Declaring as follows:

                          a.      Declaring that Berkley Insurance is required under the Berkley Policies to

                  defend, indemnify and reimburse the Town of Brookhaven with reference to all damages,

                  losses, costs and expenses associated with both claims or potential claims against the

                  Town stemming from the contamination of Calabro Airport, its soil and groundwater by

                  AFFF Products, the costs of remediation imposed or which may be imposed by the DEC

                  or otherwise required by law or public safety, and any potential claims against the Town


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               by owners of adjacent or other nearby properties (the "Other Properties") arising from the

               contamination of Calabro Airport by AFFF Products;

                       b.     Declaring that no exclusion, limitation or other provision of the Berkley

               Policies in any manner limits, bars, or precludes the Town's right to defense,

               indemnification, reimbursement of remediation costs, and any other loss, liability or other

               damage which the Town may sustain by reason of the contamination of Calabro Airport,

               its soil and groundwater and its surrounding properties by AFFF Products;

                       c.     Declaring that the Town is entitled to the same complete defense,

               indemnification and reimbursement of remediation and other costs or damages for which

               the Town may become exposed to liability in future actions, lawsuits, proceedings or

               claims by other owners of Other Properties or others in any manner arising out of

               contamination of Calabro Airport, its soils and groundwater from AFFF Products and the

               cost of remediating such contamination; and

                       d.     Declaring such other matters, disputes and controversies between the

               Town of Brookhaven and Berkley Insurance as may be necessary and appropriate to fully

               resolve any and all disputes and controversies between the parties;

               2.      Upon the Second Cause of Action, granting the Town specific performance of the

        Berkley Policies by requiring Berkley Insurance to do the following:

                       a.     Requiring Berkley Insurance under the Berkley Policies to defend,

               indemnify and reimburse the Town of Brookhaven with reference to all damages, losses;

               costs and expenses associated with both claims or potential claims against the Town

               stemrning from the contamination of Calabro Airport, its soil and groundwater by AFFF

               Products, the costs of remediation imposed or which may be imposed by the DEC or

               otherwise required by law or public'safety and, any potential claims against the Town by


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                 owners of adjacent or other nearby properties (the "Other Properties") arising from the

                 contamination of Calabro Airport by AFFF Products;

                         b.     Requiring Berkley Insurance to provide the Town with a full defense,

                 indemnification and reimbursement ofremediation and other costs for which the Town

                 may become exposed to liability in future actions, lawsuits, proceedings or claims by

                 owners of Other Properties or others in any manner arising out of contamination of

                 Calabro Airport, its soils and groundwater from AFFF Products and the cost of

                 remediating such contamination; and

                         c.     Requiring Berkley Insurance to perform such further actions as may be

                 necessary and appropriate to fully resolve any and all Town entitlements, claims and

                 disputes and controversies between the parties;

                 3.      Upon the Third Cause ofAction, granting the Town of Brookhaven monetary

         damages against Berkley Insurance for repudiation and breach of the Berkley Policies granting

         damages in an amount to be determined at trial; and

                 4.      Granting plaintiff Town of Brookhaven such other and further relief as the Court

         may deem appropriate, together with interest, as applicable, from the earliest ascertainable date,

         and the costs and disbursements hereof.

         Dated: Garden City, New York
                February 25, 2025                              Yours, etc.

                                                               ROSENBERG CAUCA B1RNEY
                                                               LIEBMAN & ROSS LIP
                                                               Attorneysforf1a9tfJ4bwn ofBrookhaven

                                                               By:
                                                                      Robert M. CaTica
                                                                      Judah Serfaty
                                                               100 Garden City Plaza, Suite 408
                                                               Garden City, New York 11530
                                                              (516)747-7400


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          TO:     Berkley Insurance Company
                  a/k/a — d,'b/a Berkley Public Entity Managers
                  412 Kemble Avenue
                  Suite 310N
                  Morristown, New Jersey 07960




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                                                          VERIFICATION


          STATE OF NEW YORK                     )
                                                )ss:
          COUNTY OF SUFFOLK                     )

                  ANNETTE EADERESTO,being duly sworn deposes and says:

                  I am the Town Attorney ofthe Town ofBrookhaven, and a Public Officer.

                 I have read the foregoing Complaint, and the same is true ofown knowledge, except as to
          those matters therein stated to be alleged upon information and belief, and as to those matters, I
          believe them to be true.




          ‘
          ,‘./95.1 to before me this
        0-(4wcray of February,2025.


                  MICHELE A DANCONA
              NOTARY PUBLIC,STATE OF NEW YORK
                  Regastratios No.OIDA6042652
                   Qualified in Suffolk County
                 Commission Expires May 30.'4.02Le




         (00502227-1)


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                    Berkley
                    Public Entity
                                                                                              Jeffrey Roberts
                                                                                              Claims Director
                                                                            412 Mt. Kemble Avenue, Suite G50
                                                                                         Morristown NJ 07960
                                                                                               212-835-1814
                                                                              Email:jeroberts@wrberkley.com


     September 22, 2021

     Via Email Only
     jlutzer   brookhavennv.qov

     Jennifer Lutzer
     Town of Brookhaven
     1 Independence Hill
     Farmingville, New York 11738

     Re:       In The Matter Remedial Program For Brookhaven Calahro Airport
               Index No.:          CO 1-20200210-82
               Berkley Insured:    Town of Brookhaven
               Berkley Claim No.: 2105409

     Dear Ms. Lutzer:

     This provides Berkley Insurance Company's ("Berkley") updated coverage position based upon its ongoing
     investigation. This follows our April 28, 2021 letter that is incorporated by reference herein.

     Berkley issued to the Town of Brookhaven ("Brookhaven") the following policies (collectively the "Berkley
      olicies"):
      Policy Number                   Policy Period                 General Liability Coverage
                                                                    Part Limits of Insurance

      PEM 0000039-00                  January 1, 2014 to January 1, •Each Occurrence
                                      2015                          $10,000,000/Aggregate
                                                                    $10,000,000

      PEM 0000039-01                  January 1, 2015 to January 1, Each Occurrence                .
                                      2016                          $10,000,000/Aggregate
                                                                    $10,000,000

      PEM 0000039-02                  January 1. 2016 to January 1, Each Occurrence
                                      2017                          $10,000,000/Aggregate
                                                                    $10,000,000

      PEM 0000039-03                  January 1, 2017 to January 1, Each Occurrence
                                      2018                          $10,000,000/Aggregate
                                                                    $10,000,000
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     PEM 0000039-04                    January 1, 2018 to January 1, Each Occurrence
                                       2019                          $10,000,000/Aggregate
                                                                     $10,000,000


    For the reasons discussed below, Berkley disclaims coverage to Brookhaven and will not defend or indemnify
    Brookhaven in the above referenced matter.

    BACKGROUND

    The New York Department of Environmental Conservation (the"NYDEC")initiated the matter In The Matter
    Remedial Program for DEC Site Brookhaven Calabro Airport DEC Site No. 152263, Index No. CO 1-
    20200210-82,for the property located at 135 Dawn Drive,Shirley, New York 11967(the "Site"). The NYDEC
    has designated the Calabro Airport location as a potential hazardous waste site and is conducting a "Site
    Characterization" to identify and quantify the presence ofPFOS and PFOA contaminants found in the soil and
    groundwater. A November 26, 2019 letter from Environmental Assessment & Remediations ("EAR-)
    indicates that investigation of the Site is being conducted pursuant to NYDEC Standby Contractor
    Authorization Form dated February 14,2019(Callout ID: 136708)and that, between June 24 and July 2,2019.
    EAR installed temporary borings at fourteen (14) locations for the collection of groundwater samples. The
    samples collected contained levels of PFOA and PFOS that were outside of acceptable limits or exceeded
    USEPA advisory level limits.

    We understand that Brookhaven owns the Calabro Airport Site. On May 21, 2020, Brookhaven executed a
    Consent Order with the NYDEC that obligates Brookhaven to reimburse the NYDEC $38,214 in past Site
    investigation costs and requires Brookhaven to submit a Site Characterization Work plan.

    THE BERKLEY POLICIES

    Berkley refers you to the complete terms, conditions and exclusions of the Berkley policies. Berkley reserves
    the right to rely on any term(s), condition(s)and exclusion(s) of the Berkley policies and the failure to cite any
    particular term(s), condition(s) and exclusion(s) herein shall not be deemed a waiver thereof.

    Please refer to the "PUBLIC ENTITY RETAINED LIMITS POLICY COMMON CONDITIONS,
    DEFINITIONS AND EXCLUSIONS"(form CCP1001 01/1 3) which provides:

                   A.    CONDITIONS
                         All Coverage Parts included in this policy are subject to the following conditions
                         except as where expressly indicated.
                                                      * *
                         9.    Defense and Settlement
                             a) We have no duty to defend a claim against an insured seeking damages.
                             b) We shall have no obligation to pay or indemnify an insured for any
                                 amount if an insured's obligation to pay damages and claim expenses is
                                 within or equal to the retained limit.
                                      a Berkley Company
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                        c) You have the duty to defend any claim to which this insurance applies
                           and shall be responsible for the damages and claim expenses up to the
                           retained limit.
                        d) Your legal obligation to pay damages must be evidenced either by a
                           judgment against an insured after final adjudication, an arbitration award
                           entered as a judgment, or by a written settlement executed by you and the
                           settling claimants.
                        e) You must obtain our prior written approval before offering or agreeing
                           to pay any amount in excess of the retained limit.
                        0 We shall have the right and you shall avail us of the opportunity to
                           associate with you in the defense of any claim that in our sole opinion
                           may create indemnification obligations for us.
                        g) We shall have the right to settle any claim that in our sole opinion may
                           create indemnification obligations for us under this policy.
                                                  *   *   *


                B.   DEFINITIONS
                     1. Accident includes continuous or repeated exposure to substantially the same
                        general harmful conditions which results in bodily injury or property
                        damages. All such exposure to substantially the same general conditions will
                        be considered as arising out of one accident.
                                                  *   *   *


                     3. Advertising injury means one or more of the following offenses committed
                        or alleged to have been committed in any advertisement, publicity article.
                        broadcast, or telecast and arising out of your advertising activities except if
                        arising out of electronic chat rooms or bulletin boards:
                        a. Libel, slander or defamation;
                        b. Any infringement of copyright, title or slogan;
                        c. Use of another's advertising idea in your advertisement;
                        d. Oral or written publication of material that violates a person's right of
                            privacy.
                                                      *   *

                     6. Bodily injury means:
                        a. Physical injury, sickness or disease sustained by any person. including
                           death resulting from any of these at any time; and
                        b. Mental anguish, mental injury mental tension, emotional distress,
                           disability, pain and suffering, shock or fright if arising out of item 6.a.
                     7. Claim means:
                        a. A written demand against any insured for monetary damages or non-
                           Monetary injunctive relief;
                        b. A civil, administrative or regulatory proceeding against any insured
                           commenced by:
                           i.    The service of a complaint or similar pleading against any insured
                                 seeking monetary damages or non-monetary or injunctive relief;
                                  a Berkley Company
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                           ii.   The issuance of a notice of charge or formal investigative order,
                                 including without limitation any such proceeding by or in association
                                 with any federal, state or local governmental authority located
                                 anywhere in the world; or
                           iii. The service upon or other receipt by an insured of a written notice
                                 or subpoena from the investigating authority identifying any insured
                                 as an individual against whom a civil, administrative or regulatory
                                 investigation or proceeding is to be commenced.
                       Notwithstanding the foregoing, however, any complaint filed with the Equal
                       Employment Opportunity Commission ("EEOC")shall not constitute a claim
                       unless the EEOC has issued a "right to sue" letter or notice to the claimant;
                       c. A criminal proceeding against any insured commenced by a return of an
                          indictment, information, or similar document, or receipt or filing of a
                          notice of charges;
                       d. An arbitration proceeding against any insured seeking monetary damages
                          or non-monetary or injunctive relief;
                       e. Solely with respect to Insuring Agreement A.2, a written request of the
                          insured to toll or waive a statute of limitations applicable to a claim
                          described in paragraphs a through d above; including any appeal
                          therefrom.
                       Claim does not mean or include a labor union grievance or complaint filed
                       with a labor union.
                                                *    *   *


                    I I. Damages means:
                       a. Compensatory damages that the insured becomes legally obligated to pay
                          on account of any claim;...
                                                *   *    *

                      d. Damages does not include:
                         i.   Any amount that the insured is not financially liable or legally
                              obligated to pay;
                         ii. Taxes,fines, penalties, or assessments;
                         iii. Punitive or exemplary damages, or the multiple portion of any
                              multiplied damage award;
                         iv. Matters uninsurable under the laws pursuant to which this policy is
                              construed;
                         v. The cost to comply with any injunctive or other non-monetary or
                              declaratory relief, including specific performance, or any agreement
                              to provide such relief.
                         vi. Employment-related benefits, retirement benefits, perquisites,
                              vacation and sick days, medical and insurance benefits, deferred cash
                              incentive compensation or any other type ofcompensation; provided,
                              however, this limitation does not include salary, wages, bonuses,
                              commissions and non-deferred cash incentive compensation in a
                              settlement or judgment for an employment practice violation;
                                 a Berkley Company
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                            vii. Any liability or costs incurred to modify any building or property to
                                  make it more accessible or accommodating to any person;
                            viii. Any liability of costs in connection with any educational, sensitivity
                                  or other co-rporate program, policy or seminar;
                            ix. The value of tuition or scholarship;
                            x. The reimbursement of tuition, books, transportation expenses and
                                  other fees associated with educational activities;
                            xi. Any amount that an insured shall be required to pay pursuant to a
                                  special needs hearing award, other than prevailing party fees
                            xii. The return of funds which were received:
                                  i. from any federal, state or local governmental agency and any
                                      interest, fines or penalties arising out of the return of such funds;
                                      or
                                  ii. as donations from a third party.
                            xiii. Crisis management expense; or
                            xiv. Liquidated damages, except to the extent specifically included as
                                   damages above.
                                                  *    *


                    1 7.   Hostile Fire means a fire which becomes uncontrollable or breaks out from
                           where it was intended to be.
                                                  * * *
                    26. Occdrrence means:
                        a. With respect to bodily injury and property damage, an accident
                           including continuous or repeated exposure to substantially the same
                           general harmful conditions which results in bodily injury or property
                           damage. All such exposure to substantially the same general conditions
                           will bc considered as arising out of one occurrence;
                        b. With respect to personal injury, only those offenses specified in the
                           personal injury definition. All damages arising out ofsubstantially the
                           same personal injury regardless of frequency, repetition, the number or
                           kind of offenses, or number of claimants, will be considered as arising
                           out of one occurrence.
                        c. With respect to advertising injury, only the offenses listed in the
                           advertising injury definition. All damages arising out of substantially
                           the same advertising injury regardless of frequency, repetition, the
                           number or kind of media used, the number or kind of offenses, or the
                           number of claimants, will be considered as arising out of' one
                           occurrence.
                    27. Personal injury means one or more of the following offenses:
                        a.   False arrest, false imprisonment wrongful detention or malicious
                             prosecution;


                                 a Berkley Company
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                          b.   Libel, slander, defamation of character, or oral or written publication
                               of material that violates a person's right of privacy; unless arising out
                               of advertising activities in electronic chat rooms or bulletin boards:
                          c.   Wrongful eviction from, wrongful entry into, or invasion of the right
                               of private occupancy of a room, dwelling or premises that a person
                               occupies by or on behalfofthe owner,landlord or lessor,or by a person
                               claiming to be acting on behalf of the owner, landlord or lessor.
                          d.   Personal injury does not include the disclosure of any individual's
                               name; address; telephone number; medical, healthcare or other health
                               information; social security, driver's license or other government
                               identification number; credit or debit card number; account numbers
                               or histories; passwords or other personal information not lawfully
                               available to the general public.
                                                  *   *   *

                    31. Pollutant(s) means
                        a. any substance exhibiting any hazardous characteristics as defined by
                             or identified on a list of hazardous substances issued by the United
                             States Environmental Protection Agency or any federal, state, county,
                             municipal or local counterpart thereof or any foreign equivalent:
                        b. any solid, liquid, gaseous or thermal irritant, contaminant or smoke,
                             vapor, soot, fumes, acids, alkalis, chemicals or waste materials,
                             including materials to be recycled, reconditioned, or reclaimed; and
                             also
                        c. any other air emission, odor, waste water, oil or oil products, infectious
                             or medical waste, asbestos or asbestos products, noise, fungi or
                             bacteria (not including to any fungi or bacteria that are, are on, or are
                             contained in, a good or product intended for bodily consumption), lead
                             or lead compounds or lead contained in any materials, and electric or
                             magnetic or electromagnetic field radiation.
                                                 *    *   *

                    31. Property damage means physical injury to tangible property, including all
                        resulting loss of use of such property. All such loss of use shall be deemed
                        to occur at the time of the physical injury that caused it. For purposes of this
                        insurance, electronic data is not tangible property. Electronic data means
                        information, facts, or programs stored as or on, created or used on. or
                        transmitted to or from computer software, including systems and
                        applications software, hard or floppy disks. CD-ROMS, DADs, tapes,
                        drives, cells, data processing devices or any other media which are used with
                        electronically controlled equipment.
                    32. Retained limit means the applicable dollar amounts shown in the
                        Declarations, applicable Coverage Part or endorsement, which the insured
                        bears as an uninsured amount at its own risk. The retained limit must be
                        satisfied by actual payment by you. The retained limit cannot be satisfied
                        by payment of any deductible of any other policy or any payments made on
                        behalf of any insured by any other insurer, person or entity. You must pay
                                 a Berkley Company
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                            the retained limit under this policy without regard to whether any insured
                            must pay other amounts under any other policy, even if the claim is deemed
                            to have been caused by one occurrence, accident or wrongful act The
                            retained limit shall not be impaired by payments for any claim, or related
                            claim expenses, brought against an insured which is not covered under the
                            applicable Coverage Part.
                                               * * *
                     37. Suit means a civil proceeding in which damages because of bodily injury,
                           property damage. personal injury, advertising injury or wrongful act to
                           which the applicable Coverage Part applies, are alleged, including:
                           a. An arbitration proceeding in which such damages are alleged; or
                           b. Any other Alternative Dispute Resolution proceeding in which such
                              damages arc alleged.
                C.   Exclusions
                     All Coverage Parts included in this policy also contain their own exclusions and
                     are subject to any applicable exclusions in the Coverage Part and the following
                     Exclusions that apply to all Coverage Parts except as otherwise expressly
                     indicated:
                     The insurance under this Coverage Part does not apply to:
                                               *   *    *

                     5.     Any damages for any costs, civil fines, penalties or expenses levied OT
                            i mposed against an insured arising from any complaint or enforcement
                            action from any federal, state, or local government regulatory agency.
                                                   *   *    *

                     1 2.   Any:
                             a.    Liability arising from the actual alleged or threatened discharge,
                                   dispersal, seepage, migration, release or escape of pollutants; or
                             b. Loss, cost or expense arising out of any:
                                   i. Request, demand or order than an insured or others test for,
                                       monitor, clean up, remove, contain, treat, detoxify or neutralize,
                                       or in any way respond to or assess the effects of pollutants: or
                                   ii. Any claim by or on behalf of a governmental authority or others
                                       for damages because of testing for, monitoring, cleaning up,
                                       removing, containing, treating, detoxifying or neutralizing, or in
                                       any way responding to, or assessing the effects of pollutants.
                             With respect to the General Liability Coverage Part, this exclusion does
                             not apply to:
                             a. Bodily injury or property damage caused by heat, smoke or fumes
                                from a hostile fire;
                             b. Bodily injury if sustained within a building owned or occupied by, or
                                 rented or loaned to, any insured and caused by smoke, fumes, vapor,
                                 or soot from equipment used to heat that building.
                             With respect to the Automobile Liability Coverage Part, this exclusion
                             does not apply to accidents that occur away from premises owned or

                                  a Berkley Company
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                                  rented to an insured with respect to pollutants not in or upon a covered
                                  automobile, but only if:
                                  a. The pollutants or any property in which the pollutants are contained
                                      are upset, overturned or damaged as a result of the maintenance or use
                                      of a covered automobile; and
                                  b. The discharge, dispersal, seepage, migration, release or escape of the
                                      pollutants is caused directly by such upset, overturn or damage; and
                                  c. The pollutants were not in, upon or released from the covered
                                      automobile.
                                  Paragraph c. above does not apply to fuels, lubricants, fluids, exhaust,
                                  gases or other similar pollutants that are needed for or result from the
                                  normal electrical, hydraulic or mechanical functioning of the covered
                                  automobile or its parts, if:
                                  i.    The pollutants escape, seep, migrate or are discharged, dispersed or
                                        released directly from an automobile part designed by its
                                        manufacturer to hold, store, receive or dispose of such pollutants;
                                        and
                                  ii. The bodily injury or property damage does not arise out of the
                                        operation of mobile equipment.
                                                         *   *    *



     Please refer to the "PUBLIC ENTITY RETAINED LIMITS POLICY GENERAL LIABILITY
     COVERAGE PART"(form CCP]002 01/1 3) which provides:

                     In consideration of the payment of the premium and the undertaking of the insured to
                     pay the retained limit as described herein, and subject to the Limits ofInsurance of this
                     insurance as set forth in the Declarations, and the exclusions, conditions, and other terms
                     of this policy, the Company agrees with the insured as follows:
                     A.      Insuring Agreement
                            The insurer will indemnify the insured for those sums the insured becomes
                            legally obligated to pay as damages and/or claim expenses in excess of the
                            retained limit because of bodily injury, personal injury, advertising injury,
                            or property damage taking place during the policy period and caused by an
                            occurrence during the policy period. The occurrence must take place in the
                            Coverage Territory.
                            No other obligation to pay any additional sums, perform acts or provide services
                            is covered.
                     B.     Retained Limit
                            The insurer's liability under this policy applies only to damages and claim
                            expenses which are in excess of the retained limit applicable to this Coverage
                            Part and specified in the Declarations. The retained limit must be borne by the
                            insured as an uninsured amount and at its own risk. This will be true regardless
                            of:
                                        a Berkley Company
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                          I. The number of persons and organizations who are insureds under this
                             policy;
                          2. The number of claims made against any or all insureds; or
                          3. The number of persons or organizations making claims.
                                                *   *


                  D.      Exclusions
                          The following exclusions apply to this Coverage Part in addition to the
                          exclusions in the Common Conditions, Definitions and Exclusions section of
                          this policy.
                          The insurance under this Coverage Part does NOT apply to:
                                                      *   *    *

                          7.    Any property damage to:
                                a.  Property owned, occupied or leased by an insured or purchased by
                                    an insured under an installment sales contract or property on
                                    consignment to an insured;

   COVERAGE POSITION

   As per the policy's General Liability Coverage Part, Berkley will indemnify Brookhaven for those sums it
   becomes Legally obligated to pay as damages and/or claim expenses in excess of the retained limit because
   of bodily injury, personal injury, advertising injury, or property damage taking place during the policy
   period and caused by an occurrence during the policy period.

   The claim by the NYDEC does not seek damages for bodily injury, personal injury or advertising injury
   as those terms are defined in the Berkley policies.

   To the extent the claim seeks damages for property damage to property owned, occupied or leased by an
   insured or purchased by an insured under an installment sales contract or property on consignment to an
   insured, coverage is excluded pursuant to exclusion "7" in the General Liability Coverage Part.

   Berkley also denies coverage to the extent that the NYDEC requires Brookhaven to pay any taxes, fines,
   penalties, or assessments, as such items are not covered damages as that term is defined in the Berkley policies.
   In addition, Berkley also denies coverage for any costs incurred by Brookhaven to comply with any injunctive
   or other non-monetary or declaratory relief, including specific performance, or any agreement to provide such
   relief, as such items are also not covered damages.

   The COMMON CONDITIONS, DEFINITIONS AND EXCLUSIONS in the Berkley policies contains a
   pollution exclusion applicable to all coverage parts which provides that the policies do not apply to any:

                  a.    Liability arising from the actual alleged or threatened discharge, dispersal,
                        seepage, migration, release or escape of pollutants; or
                  b.    Loss, cost or expense arising out of any:
                                       a Berkley Company
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                          i. Request, demand or order than an insured or others test for, monitor, clean up,
                              remove, contain, treat, detoxify or neutralize, or in any way respond to or
                              assess the effects of pollutants; or
                          ii. Any claim by or on behalf of a governmental authority or others for damages
                              because oftesting for, monitoring,cleaning up,removing,containing, treating,
                              detoxifying or neutralizing, or in any way responding to, or assessing the
                              effects of pollutants.

     The NYDEC has identified, and is continuing to investigate, PFOA and PFOS contamination at the Site. The
     NYDEC Site Record lists PFOA and PFOS as the "Contaminants of Concern" and indicates that they have
     been detected "above the EPA Health Advisory Level of 70 ng/l." PFOA and PFOS are pollutants as that
     term is defined in the Berkley policies.

     NYDEC's claim is that Brookhaven is liable for the discharge, dispersal, seepage, migration, release or escape
     ofthe pollutants PFOA and PFOS at the Site. Coverage for the claim is excluded section "a." of the pollution
     exclusion in the Berkley policies.

     Brookhaven's Consent Order with the NYDEC obligates Brookhaven to reimburse the NYDEC $38,214 in
     past Site investigation costs and requires Brookhaven to submit a Site Characterization Work plan to the
     NYDEC for PFOA and PFOS. Under section "b." ofthe pollution exclusion, the Berkley policies do not apply
     to costs incurred to investigate and remediate pollutants PFOA and PFOS at the Site.

     Accordingly, coverage for NYDEC's claim against Brookhaven is completely excluded from coverage by the
     pollution exclusion in the Berkley policies. Berkley denies coverage to Brookhaven for NYDEC's claim.

     Pursuant to exclusion "5" in the COMMON CONDITIONS, DEFINITIONS AND EXCLUSIONS in the
     Berkley policies, Berkley also denies coverage for any damages for any costs, civil fines, penalties or expenses
     levied or imposed against Brookhaven arising from any complaint or enforcement action from any federal,
     state, or local government regulatory agency, including but not limited to NYDEC.


     Pursuant to condition "9 e)" in the COMMON CONDITIONS, DEFINITIONS AND EXCLUSIONS,
     Brookhaven "must obtain our prior written approval before offering or agreeing to pay any amount in excess
     ofthe retained limit." Brookhaven executed the Consent Order with the NYDEC prior to notifying Berkley
     ofthis claim. Accordingly, Brookhaven's obligations under the Consent Order in excess of the retained limit
     are excluded from coverage. In addition, retained limit shall not be impaired by payments for any claim, or
     related claim expenses, brought against an insured which is not covered under the applicable Coverage Part.
     As the claim by NYDEC is not covered under the Berkley policies, any payments made by Brookhaven do
     not erode the retained limit. Pursuant to condition "9 a)" Berkley has no duty to defend a claim against an
     insured seeking damages.

     No other coverage parts of the Berkley policies apply to this matter.



                                       a Berkley Company
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     For the reasons discussed above, Berkley completely denies coverage to Brookhaven. Berkley will not defend
     or indemnify Brookhaven or any other party to this claim. Tf you have other insurance policies that may
     respond to this claim, you should notify that carrier immediately.

     Berkley's coverage position is based upon the information available to us. This letter is not and should not be
     construed as a waiver of any terms, conditions, exclusions or any other provisions of the Berkley policies.
     Berkley expressly reserves its right to supplement the foregoing if additional information is developed or
     disclosed and to assert policy positions and defenses not discussed herein which may be determined to be
     applicable. No waiver of the right to assert additional positions or defenses is intended and such a waiver is
     denied.

     Should you wish to take this matter up with the New York State Department of Financial Services, you may
     file with the Department either on its websitc at htto://www.dfs.ny.gov/consumer/filcacomnlaint.htm or you
     may write to or visit the Consumer Assistance Unit, Financial Frauds and Consumer Protection Division, New
     York State Department of Financial Services, at: 25 Beaver Street, New York, NY 10004; One Commerce
     Plaza, Albany, NY 12257; 163B Mineola Boulevard, Mineola, NY 11501; or Walter J. Mahoney Office
     Building, 65 Court Street. Buffalo, NY 14202.

     Please do not hesitate to call me if you have any questions regarding this letter or if you have any additional
     information you wish Berkley to consider.

     Sincerely,

     A0ey RAnta
     Jeffrey Roberts
     Claims Director

    Cc:
    Brian Jankauskas, P.E.
    New York Department of Environmental Conservation
    Division of Environmental Remediation
    625 Broadway, 12th Floor
    Albany, New York 12233-7013

     Felix Wienclaw (via email to fwienclaw(@brookhavenny.gov)

     Stephen J. Jones (via email to StephenionesJr(@,willistowerswatson.com)
     Willis Towers Watson (via email to IN WNA C1aims(@,1,vil1istowerswatson.com)




                                      a Berkley Company
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                      Berkley                                                          412 Mt. Kemble Ave.
                                                                                                 Suite 310N
                      Public Entity Managers                                           Morristown, NJ 07960

         December 10, 2024

          Via Email: Rcalica@rosenbergllp.com

         Robert M. Calica, Esq.
         Partner
         Rosenberg Calica Birney Liebman & Ross LLP
         100 Garden City Plaza, Suite 408
         Garden City, NY 11530

                Re:                     In the Matter Remedial Programfor Brookhaven Calabro Airport
                Index No.:              CO 1-20200210-82
                Berkley Insured:        Town of Brookhaven
                Claim No.:              000013971340
                BPE Claim No.:          2105409

         Dear Mr. Calica:

         I write on behalf of Berkley Insurance Company ("Berkley") in response to your letter of
         September 26, 2024, which you submitted on behalf of the Town of Brookhaven ("Brookhaven").

         As you know, on September 22, 2021, Berkley disclaimed coverage for Brookhaven's claim in
         connection with the matter In The Matter Remedial Program for DEC Site Brookhaven Calabro
         Airport DEC Site No. 152263, Index No. CO 1-20200210-82 initiated by the New York
         Department of Environmental Conservation("NYDEC.").

         In your letter, you asserted Berkley's bases for denying coverage were contrary to the subject
         policies and governing law and you demanded coverage on behalf of Brookhaven. Berkley has
         reviewed the arguments and issues that you raised and has determined that Berkley's coverage
         position remains unchanged. Based on the terms and conditions of the Berkley policies and New
         York law, Berkley must reiterate its position to disclaim coverage for Brookhaven's claim.

         This letter is written under a reservation of rights, with none waived.

         Sincerely,


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                    ,ite

         Matt Passanisi, Esq.
         Claims Director
         Berkley Public Entity
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                      ROSENBERG CALICA
                      BIRNEY LIEBMAN & ROSS LLP

                100 Garden City Plaza, Suite 408, Garden City, New York 11530   TELEPHONE 516-747-7400

         Robert M.Calica                                                  DIRECT DIAL (516) 747-7400 (Ext. 310)
         Partner                                                          Fax:        (516) 747-7480
         EMAIL ADDRESS: RcalicaPRosenbergLLP.com


                                                                  September 26, 2024


         VIA FEDERAL EXPRESS AND EMAIL
         Jeffrey Roberts
         Claims Director
         Berkley Insurance Company
         412 Mt. Kemble Avenue, Suite G50
         Morristown NJ 07960
         212-835-1814
         Email: jerobertsa.),wrberkley.com

                 Re: In The Matter Remedial Program For Brookhaven Calabro Airport
                 Index No.: CO 1-20200210-82
                 Berkley Insured: Town of Brookhaven
                 Berkley Claim No.: 2105409

          Dear Mr. Roberts:

                 We are attorneys for the Insured, Town ofBrookhaven. For the reasons stated below, the
          Town disputes Berkley Insurance Company's denial of coverage in this matter as indicated in
          your correspondence of September 22, 2021. Each of Berkley's asserted bases for denying
          coverage are contrary to the subject Policy and governing law.

                  As used in this letter, Town or Insured means the Town of Brookhaven, Berkley or
          Insurer means Berkley Insurance Company, and boldface terms are as defined in the Policy.

                 As shown below:

             • The Town is entitled to coverage under the Policy's General Liability Coverage Part, for
               property damage;

             • Contrary to Berkley's contention, the pollutants exclusion (contained in paragraph C(12)
               of the Policy's Common Conditions, Definitions and Exclusions) does not apply, because
               the damages were proximately and foreseeably caused from heat, smoke or fumes from a
               hostile fire, which is an express exception in the Policy to the pollutants exclusion.
               Burlington Ins. Co. v. NYC Transit Auth., 29 N.Y.3d 313, 322(2017); Travelers
               Property Casualty Company v Harleysville Worcester Insurance Company,685
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                  F.Supp.3d 187, 208(S.D.N.Y. 2023); Liberty Mut. Ins. Corp. v. N.Y. Marine & Gen. Ins.
                  Co., 505 F. Supp.3d 260,272(S.D.N.Y. 2011);

             • Berkley also wrongly relied on the so-called "owned-property" exclusion to covered
               property damage (contained in paragraph D(7) of the General Liability Coverage Part).
               That exclusion provides that property owned by the Insured is not covered as property
               damage. As a matter of settled law and public policy, the owned-property exclusion does
               not apply because at issue is environmental contamination migrating or potentially
               migrating toward adjoining lands of third-parties and to the aquifer waters of the Long
               Island Sole Source Aquifer, neither of which are owned by the Insured. Olin Corporation
               v. Lamorak Insurance Company, 332 F.Supp.3d 818, 843-844(S.D.N.Y. 2018); Kirchner
               v. Fireman's Fund Ins. Co., 1991 WL 177251, at *8(S.D.N.Y. Sept. 4. 1991); and

             • Berkley's claim that by entering into the June 18, 2020 Site Characterization Consent
               Order with the DEC the Town violated condition 9(e) of the Policy's Common
               Conditions, Definitions and Exclusions, that the Insured "must obtain our prior written
               approval before offering or agreeing to pay any amount in excess of the retained limit,"
               is directly refuted by the express text of that Consent Order, which specifically fully
               preserved the Town's rights to challenge any DEC remedial orders and allowed and
               allows the Town to elect to "terminate- that Consent Order.

             I.      Coverage

                  Under the Policy's General Liability Coverage Part, in pertinent part, Berkley is obligated
          to indemnify the Town for those sums it becomes legally obligated to pay as damages and/or         ,
          claim expenses in excess ofthe retained limit because of property damage taking place during
          the policy period and caused by an occurrence during the policy period.

                  Investigations have uncovered that the property damage to Calabro Airport was in large
          part the result of multiple fires from airplane crashes, resulting in heat, smoke and fumes that
          were foreseeably treated with Aqueous Film-Forming Foam (AFFF), also known as firefighting
          foam. Five accidents or incidents have been recorded with the National Transportation Safety
          Bureau that are connected to the airport and have resulted in heat, smoke or fumes from a hostile
          fire on the ground on the following dates: May 6, 1984; August 3, 1988; November 18, 1998;
          August 19, 2012 and February 12, 2016. Upon information and belief, AFFF products were
          utilized in connection with those five accidents or incidents and which leached into the ground
          and travelled.

                   The damages and date of occurrence are within the coverage periods. New York courts
          apply the broad "injury-in-fact" trigger for an occurrence under insurance policies. Carrier
         Corporation v. Allstate Insurance Company, 187 A.D.3d 1616(4th Dep't 2020); Continental Cas.
         Co. v. Rapid-American Corp., 177 A.D.2d 61 (1st Dep't 1992), order affd, 80 N.Y.2d 640
         (1993). As it pertains to environmental injury to property, this broad standard is not at all limited
          to first exposure of the lands to the contaminants. Instead, policy occurrence triggering dates
         extend throughout the periods that the contamination injures the land and/or underlying waters.
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         Cortland Pump & Equip., Inc. v. Firemen's Ins. Co. of Newark. N.J., 194 A.D.2d 117, 121 (3d
         Dept. 1993).

             TT.       The Policy's "hostile fire" exception to the pollutants exclusion

                 The pollutants exclusion contained in paragraph C(I2)the Policy's Common
         Conditions, Definitions and Exclusions, while providing an express exclusion for
         governmentally directed cleanups of environmental contaminants, contains a specific exception
         to that exemption concerning property damage caused from heat, smoke or fumes from a
         hostile fire. It therefore does not exempt coverage for such governmentally directed cleanups
         falling within that hostile fire exception. It provides:

                   [Exclusions:] 12. Any:

                   a. Liability arising from the actual, alleged or threatened discharge, dispersal,
                   seepage, migration, release or escape of pollutants; or

                   b. Loss, cost or expense arising out of any:

                          i. Request, demand or order that an insured or others test for, monitor, clean
                          up, remove, contain, treat, detoxify or neutralize, or in any way respond to
                          or assess the effects of pollutants; or

                          ii. Any claim by or on behalf of governmental authority or others for
                          damages because of testing for, monitoring, cleaning up, removing.
                          containinu, treating, detoxifying or neutralizing, or in any way respondinu
                          to, or assessing the effects of pollutants.

                   With respect to the General Liability Coverage Part, this exclusion does not apply
                   to:

                   a. Bodily injury or property damage caused by heat, smoke or fumes from a
                   hostile fire.(Underlining added).

                 It is settled in New York that to be enforceable, exclusionary language in an insurance
         policy must be specific and clear. Seaboard Sur. Co. v. Gillette Co.,64 N.Y.2d 304 (1984). Any
         ambiguity in the language will be drawn most strongly against the insurer. Ace Wire & Cable
         Co. v. Aetna Cas. & Sur. Co.,60 N.Y.2d 390(1983). Exclusions must not be extended by
         interpretation or implication but rather strictly and narrowly construed. Seaboard, supra. As the
         New York Court of Appeals explained in Pioneer Owners Ass'n Towers v. State Farm Fire &
         Casualty Co., 12 N.Y.3d 302(2009):

                   The law governing the interpretation of exclusionary clauses in insurance policies
                   is highly favorable to insureds. We said in Seaboard Sur. Co. v Gillette Co.(64
                   NY2d 304 [1984]):
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              "[W]henever an insurer wishes to exclude certain coverage from its policy
               obligations, it must do so in clear and unmistakable language. Any such
              'exclusions or exceptions from policy coverage must be specific and clear in order
               to be enforced. They are not to be extended by interpretation or implication, but
               are to be accorded a strict and narrow construction. Indeed, before an insurance
               company is permitted to avoid policy coverage, it must satisfy the burden which it
               bears of establishing that the exclusions or exemptions apply in the particular
               case, and that they are subject to no other reasonable interpretation."(Id. at 311
              [citations and internal quotation marks omitted]; see also Cone v Nationwide Alta.
               Fire Ins. Co., 75 NY2d 747, 749[1989][exclusions from coverage "construed
               strictly against the insurer"]; Breed v Insurance Co. ofN. Am., 46 NY2d 351, 353
              [1978]["ambiguities in an insurance policy are to be construed against the
               insurer, particularly when found in an exclusionary clause"].)

                We have enforced policy exclusions only where we found them to "have a
                definite and precise meaning, unattended by danger of misconception ... and
                concerning which there is no reasonable basis for a difference of opinion"(Breed,
                46 NY2d at 355).

                 This case is a close one, but we cannot say that the event that caused plaintiffs
                 loss was unambiguously excluded from the coverage of this policy.
                                                         ***



                 We conclude that both plaintiffs and defendant's readings ofthe clauses are
                 reasonable. Our precedents require us to adopt the readings that narrow the
                 exclusions, and result in coverage."

                A hostile fire is defined in the Policy as "a fire which becomes uncontrollable or breaks
         out from where it was intended to be". Common Conditions, Definitions and Exclusions at
         Section B(17). At issue here is clearly hostile fires.

                 Further, under New York law, the Policy's exception for property damage "caused by
         heat, smoke or fumes" from a hostile fire means such damages that were "but for" caused by heat,
         smoke or fumes. Burlington Ins. Co. v. NYC Transit Auth., 29 N.Y.3d 313, 322(2017)("cause"
         when used in insurance policy may mean "but for" causation unless the policy employs modifiers
         such as "in whole or in part" which—because "but for" causation cannot be partial—connotes both
         "but for" and proximate causation). Here, but-for the heat, smoke or fumes of the hostile fire the
         property damages from the application of the firefighting foam to control and put out the heat,
         smoke or fumes would not have occurred. Thus, the property damages was "caused" by heat,
         smoke or fumes.

                 Additionally, even assuming proximate causation is required, it is readily met. Under
         New York law,"the concept of proximate cause, or more appropriately legal cause,[is]... an
         elusive one, incapable of being precisely defined to cover all situations". Derdiarian v. Felix
         Contracting Corp., 51 N.Y.2d 308, 314(1980). It may be established as aprimafacie matter
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          where there is evidence that a party or matter "was a substantial cause of the events which
          produced the injury," although ultimately,"[Oven the unique nature of the inquiry in each ease,
          it is for the finder of fact to determine legal cause." Id. at 315; see also Travelers Property
          Casualty Company v Harleysville Worcester Insurance Company,685 F.Supp.3d 187, 208
         (S.D.N.Y. 2023). An intervening act(such as the use of firefighting foam to put out and control
          the heat, smoke or fumes of the hostile fire) if-normal or foreseeable," does not preclude a
          finding proximately cause from the precipitating event(Woodling v. Garrett Corp., 813 F.2d
          543, 555-56(2d Cir. 1987)) and does "not automatically sever[]" the "causal connection"
         (Liberty Mut. Ins. Corp. v. N.Y. Marine & Gen. ins. Co., 505 F. Supp.3d 260, 272(S.D.N.Y.
          2011)(quoting Derdiarian, 51 N.Y.2d at 315). Sec also U.S. Specialty Insurance Company v.
          Harleysville Worcester Insurance Company, 2021 WL 4043457, *10(S.D.N.Y. 2021). The use
          of a firefighting material foreseeably ensues from heat, smoke or fumes of a hostile fire such
          that the causal link exists and is not broken.


             III.    Inapplicability of the owned-property exclusion

                 Further, contrary to Berkley's contention, the owned-property exclusion to covered
         property damage contained in paragraph D(7) of the General Liability Coverage Part--
         providing that property damage does not include damage to the Insured's own property--does
         not justify a denial of coverage here. At issue is environmental contamination migrating toward
         and threatening adjoining lands and the waters ofthe Long Island Aquifer which provides the
         sole source of drinking water to Long Island. New York courts as a matter oflaw and public
         policy do not apply an owned-property exclusion in this circumstance. Olin Corporation v.
         Lamorak Insurance Company, 332 F.Supp.3d 818, 843-844(S.D.N.Y. 2018)("numerous district
         courts in this Circuit have found that the owned property exclusion does not apply where cleanup
         of the insured's property is required to prevent damage to property of a third party or to protect
         public health, regardless of whether third party property damage has already occurred"). The
         refusal on public policy grounds to apply an owned-property exclusion in this context applies
         "regardless" of whether damage to a third party's property has actually occurred. Id.; Kirchner v.
         Fireman's Fund Ins. Co., 1991 WL 177251, at *8(S.D.N.Y. Sept. 4, 1991); HLT Properties, LLC
         v. Evanston Insurance Company,388 F.Supp.3d 718, 733(W.D. Texas 2019)(applying New
         York law).


             IV.     The Site Characterization Consent Order did not offer or aaree to pay amounts
                     in excess of the retained limit.

                  Contrary to Bcrkley's further contention, by entering into the June 18, 2020 Site
          Characterization Consent Order with the DEC the Town did not contravene condition 9(e) of the
          Policy's Common Conditions, Definitions and Exclusions, that the Insured "must obtain our
          prior written approval before offering or agreeing to pay any amount in excess of the retained
          limit." The 2020 Site Characterization Consent Order obligated the Town to reimburse the DEC
          for only $38,214, which is less than the retained limits. Further, that Site Characterization
          Consent Order extensively preserved the Town's rights and did not commit the Town to offering
          or agreeing to pay any amount in excess of the retained limit. The Consent Order specifically
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         states:

                   3. Respondent consents to the issuance of this Order without (i) an admission or
                   finding of liability, fault, wrongdoing, or violation of any law, regulation, permit,
                   order, requirement, or standard of care of any kind whatsoever; (ii) an
                   acknowledgment that there has been a release or threatened release of hazardous
                   waste at or from the Site; and/or (iii) an acknowledgment that a release or
                   threatened release of hazardous waste at or from the Site constitutes a significant
                   threat to the public health or environment.

                   4. Respondent and the Department agree that the primary goal of this Order is for
                   Respondent to undertake a Site Characterization at the Site.

                  The Consent Order only greed to investigate so as to characterize the site. Further. having
         ffilly preserved the Town's rights as to liability, the Consent Order in its incorporated
         "APPENDIX A [-] STANDARD CLAUSES FOR ALL NEW YORK STATE SUPERFUND
         ADMINISTRATIVE ORDERS" specifically provided that the Town could fully challenge DEC
         determinations and that nothing in the Consent Order altered that(VIII(B)). that even more. the
         Town had the full authority to elect to "terminate" the Consent Order if it disagreed with any
         DEC remediation order(XTV), and contained numerous other provisions which preserved the
         Town's authority not to be bound by DEC directives.

                   Accordingly, coverage is hereby again demanded. All rights are reserved.


                                                         Yours truly,

                                                         ROSENBERG CALICA BIRNEY
                                                         LIEBMAN & ROSS LLP


                                                         By:
                                                                Robert M. Calica
                                                                Judah Serfaty
         cc: Hon. Annette Eaderesto
               Town Attorney, Town of Brookhaven
              (via email: aeaderestoabrookhavenny.gov)
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 SUPREME COURT OF THE STATE OF NEW YORK
 COUNTY OF SUFFOLK
                                    -x
 TOWN OF BROOKHAVEN,


                            Plaintiff/Petitioner,

              - against -                                      Index No.605051/2025
 BERKLEY INSURANCE COMPANY, a/k/a or d/b/a
 BERKLEY PUBLIC ENTITY MANAGERS,

                            Defendant/Respondent.
                                               -x
                               NOTICE OF ELECTRONIC FILING
                                     (Mandatory Case)
                                  (Uniform Rule § 202.5-bb)

       You have received this Notice because:

              1)The Plaintiff/Petitioner, whose name is listed above, has filed this case using the
              New York State Courts E-filing system ("NYSCEF"), and

              2)You are a Defendant/Respondent(a party) in this case.

       • If you are represented by an attorney:
        Give this Notice to your attorney. (Attorneys: see "Information for Attorneys" pg. 2).

       •If you are not represented by an attorney:
        You will be served with all documents in paper and you must serve and file your
        documents in paper, unless you choose to participate in e-filing.

          If you choose to participate in e-filing, you must have access to a computer and a
         scanner or other device to convert documents into electronic format,a connection
         to the internet, and an e-mail address to receive service of documents.

         The benefits of participating in e-filing include:

                    •serving and filing your documents electronically

                    •free access to view and print your e-filed documents

                    •limiting your number of trips to the courthouse

                    • paying any court fees on-line (credit card needed)

       To register for e-filing or for more information about how e-filing works:

      •visit: www.nycourts.00v/efile-unrepresented or
      •contact the Clerk's Office or Help Center at the court where the case was filed. Court
       contact information can be found at www.nycourts.00v

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         To find legal information to help you represent yourself visit www.nycourthelp.qov

                                      Information for Attorneys
                                (E-filing is Mandatory for Attorneys)

         An attorney representing a party who is served with this notice must either:

                 1)immediately record his or her representation within the e-filed matter on the
                 NYSCEF site www.nycourts.00v/efile ; or

                 2)file the Notice of Opt-Out form with the clerk of the court where this action is
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 Dated: March 17, 2025'


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